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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ESTATE OF DIANE HELEN RAYMOND by the
Executor JOHN T. RAYMOND and JOHN T.
RAYMOND, individually,

                   v.                                   NO. 5:20-CV-00959-EGS

AMANDA R. LIEBERMAN, PA-C; ERRIN J.
HOFFMAN, M.D.; THE ALLENTOWN
SPECIALTY HOSPITAL d/b/a GOOD
SHEPHERD SPECIALTY HOSPITAL; LEHIGH
VALLEY HOSPITAL, INC.; et al.



                                            ORDER

       AND NOW, this _________ day of _______________________, 2021, upon

consideration of the Motion for Summary Judgment of Defendant, The Allentown Specialty

Hospital d/b/a Good Shepherd Specialty Hospital, and any response thereto, it is here by

ORDERED that said Motion is GRANTED.

       It is further ORDERED that judgment is entered in favor of Defendant, The Allentown

Specialty Hospital d/b/a Good Shepherd Specialty Hospital, and against all other parties.



                                                    BY THE COURT:




                                                    EDWARD G. SMITH, J.
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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ESTATE OF DIANE HELEN RAYMOND by the
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AMANDA R. LIEBERMAN, PA-C; ERRIN J.
HOFFMAN, M.D.; THE ALLENTOWN
SPECIALTY HOSPITAL d/b/a GOOD
SHEPHERD SPECIALTY HOSPITAL; LEHIGH
VALLEY HOSPITAL, INC.; et al.


    MOTION FOR SUMMARY JUDGMENT OF DEFENDANT, THE ALLENTOWN
     SPECIALTY HOSPITAL d/b/a GOOOD SHEPHERD SPECIALTY HOSPITAL

        Pursuant to Rule 56, Defendant, The Allentown Specialty Hospital d/b/a Good Shepherd

Specialty Hospital (hereinafter, “Good Shepherd”), by and through its undersigned counsel,

moves the Court to enter summary judgment in its favor.

        This medical negligence case arises from a thoracentesis performed on Plaintiff, John T.

Raymond’s late wife on March 8, 2018. It is undisputed that Mrs. Raymond had the procedure at

Lehigh Valley Hospital-Muhlenberg (“LVH-M”) and that it was performed by Amanda

Lieberman, PA-C (“PA Lieberman”). It is undisputed that PA Lieberman was employed by

Medical Imaging of Lehigh Valley and worked at LVH-M. It is undisputed that PA Lieberman

was not an independent contractor of Good Shepherd. Accordingly, there is no evidence to

support a theory of negligence against Good Shepherd based on actual agency or vicarious

liability.
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       Similarly, there is no evidence to support a theory that PA Lieberman was an ostensible

agent of Good Shepherd. There is no evidence that a reasonably prudent person would be

justified in believing that the thoracentesis was performed by Good Shepherd or its agents. Good

Shepherd is a separate and distinct entity from LVH-M. The facilities have separate electronic

medical records, separate licenses, separate nursing staff, and separate policies and procedures.

There is no evidence that the thoracentesis was advertised or otherwise represented as care being

rendered by Good Shepherd or its agents.

       Finally, there is no evidence that Good Shepherd was negligent or breached any duty. No

expert states that the care provided by Good Shepherd was below the standard. For that reason

and because Plaintiff did not witness the alleged negligent acts of PA Lieberman while they were

performed, Plaintiffs’ negligent infliction of emotional distress claim fails as a matter of law.

       Good Shepherd incorporates by reference its Statement of Undisputed Material Facts and

Brief in support of its motion. For the reasons set forth herein, Good Shepherd respectfully

requests that the Court grant its motion and enter the proposed Order.

                                              Respectfully submitted,

                                              GERMAN, GALLAGHER & MURTAGH

Dated: October 18, 2021                       By: /s/ John P. Shusted
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                                                  Specialty Hospital



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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ESTATE OF DIANE HELEN RAYMOND by the
Executor JOHN T. RAYMOND and JOHN T.
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                   v.                                  NO. 5:20-CV-00959-EGS

AMANDA R. LIEBERMAN, PA-C; ERRIN J.
HOFFMAN, M.D.; THE ALLENTOWN
SPECIALTY HOSPITAL d/b/a GOOD
SHEPHERD SPECIALTY HOSPITAL; LEHIGH
VALLEY HOSPITAL, INC.; et al.


     STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF THE
    MOTION FOR SUMMARY JUDGMENT OF DEFENDANT, THE ALLENTOWN
     SPECIALTY HOSPITAL d/b/a GOOOD SHEPHERD SPECIALTY HOSPITAL

       Defendant, The Allentown Specialty Hospital d/b/a Good Shepherd Specialty Hospital

(hereinafter, “Good Shepherd”), by and through its undersigned counsel, submits the following

Statement of Undisputed Material Facts in support of their Motion for Summary Judgment and in

compliance with the Court’s Policies and Procedures.

       1.      Plaintiffs’ decedent, Diane Helen Raymond, was a patient at Good Shepherd and

transferred to the Interventional Radiology department at Lehigh Valley Hospital-Muhlenberg

(“LVH-M”) on March 8, 2018, for a right thoracentesis. (See Deposition of Amanda Lieberman,

PA-C attached as Exhibit A, at 101:13-21; 102:12-103:3).

       2.      Carin Minchew, PA-C (“PA Minchew”) obtained consent for the thoracentesis

from Mrs. Raymond’s husband, Plaintiff, John T. Raymond (“Plaintiff”), over the phone,

because she was not able to communicate consent. (See Deposition of Carin Minchew, PA-C

attached as Exhibit B, at 48:24 – 53:23; 64:3-7).




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          3.   PA Minchew is employed by Medical Imaging of Lehigh Valley and reports to

work at LVH-M (Id., at 17:4 – 18:25).

          4.   In obtaining consent by phone, PA Minchew would identify herself and state,

“I’m a physician assistant at Lehigh Valley Hospital;” she did that in this case. (Id., at 51:17 –

53:23).

          5.   The consent for the thoracentesis was documented on an LVH-M form:




(Id., at 48:24 – 50:7 and Ex. 2; see also Lehigh Valley Hospital Radiology Consent for Surgery /

Invasive Procedure attached as Exhibit C).

          6.   Brandi McMillian, RN, an employee of Lehigh Valley Health Network, witnessed

the verbal consent obtained by PA Minchew in the Interventional Radiology department at

LVHM. See Deposition of Brandi McMillian, RN attached as Exhibit D, at 13:1-24; 18:2 –

21:23.

          7.   The thoracentesis was performed by Defendant, Amanda Lieberman, PA-C (“PA

Lieberman”); Defendant, Errin J. Hoffman, M.D. (“Dr. Hoffman”), was her supervising

physician. (Ex. A, 101:13-21; 102:12-103:3; see also Deposition of Errin J. Hoffman, M.D.

attached as Exhibit E, at 94:2-12).



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       8.        PA Lieberman was employed by Medical Imaging of Lehigh Valley at the time of

the thoracentesis and performed procedures at LVH-M. (Ex. A, at 22:25 – 23:20; 29:24 – 30:4;

36:18 – 37:7).

       9.        PA Lieberman was not an employee of Good Shepherd. (Id.; see also ECF Doc

No. 51, ¶ 2).

       10.       PA Lieberman was not an independent contractor of Good Shepherd.

       11.       Dr. Hoffman was employed by Medical Imaging of Lehigh Valley at the time of

the thoracentesis and worked at Lehigh Valley Hospital. (Ex. E, at 23:4-14).

       12.       Medical Imaging of Lehigh Valley is a private practice group employed by

Lehigh Valley Hospital. (Id.).

       13.       Dr. Hoffman was not an employee of Good Shepherd. [ECF Doc No. 51, ¶ 3].

       14.       Dr. Hoffman was not an independent contractor of Good Shepherd.

       15.       Maureen Unser, RN was the interventional radiology nurse during the

thoracentesis; she is employed by Lehigh Valley Hospital. (See Deposition of Maureen Unser,

RN attached as Exhibit F, at 14:12 – 16:2; 53:21 – 54:1).

       16.       LVH has a written procedure for the thoracentesis that was performed in this case.

(Id., at 22:18 – 44:7 and Ex. 1; see also Lehigh Valley Hospital Department of Ultrasound

Protocols attached as Exhibit G).

       17.       Plaintiffs’ interventional radiology expert, Bradley Pollard, M.D., confirms that

Mrs. Raymond “was transported from [Good Shepherd] to interventional radiology at Lehigh

Valley Hospital” on March 8, 2018; that she had the thoracentesis performed by PA Lieberman;

and that she was “transferred back to her room at Good Shepherd” after the procedure. (See

Report of Bradley Pollard, J.D., M.D. attached as Exhibit H, at p. 2).



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       18.     Dr. Pollard concludes that Mrs. Raymond sustained an iatrogenic injury during

the thoracentesis and that PA Lieberman violated the standard of care in performing that

procedure. (Id. at pp. 3-4).

       19.     Dr. Pollard did not criticize the care of Good Shepherd. (Id.)

       20.     No expert states that the care provided by Good Shepherd was below the standard.

       21.     Although the experts dispute whether there was an injury and whether PA

Lieberman breached the standard of care, it is undisputed that the treatment at issue was

performed by PA Lieberman at LVH-M.

       22.     Good Shepherd is a separate and distinct entity from LVH-M.

       23.     Good Shepherd is a long-term acute-care facility whereas LVH-M is a hospital.

       24.     Good Shepherd and LVH-M have separate state licenses.

       25.     Through Good Shepherd and LVH-M are in the same building, Good Shepherd is

on the third and fourth floors whereas the Interventional Radiology department of LVH-M is on

the second floor. (See Deposition of Sandra Kenter, RN attached as Exhibit I, at 17:23 – 18:24;

24:8-13).

       26.     LVH-M and Good Shepherd have separate electronic medical record systems.

       27.     LVH uses Epic, which is its electronic medical record program (Ex. A, at 46:8-

18).

       28.     If a patient was an inpatient at LVH-M, then PA Lieberman could access the

patient’s recent medical records in Epic. (Id., at 55:3-18).

       29.     She would not have access to a patient’s records or chart if they came from an

outside facility or facility that did not use Epic, such as Good Shepherd. (Id.).




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        30.      PA Lieberman did not have access to Mrs. Raymond’s chart or records from

Good Shepherd (Id., at 104:8 – 105:6).

        31.      There is no evidence that Mrs. Raymond, anyone from her family, or any

reasonable person would have believed that the providers treating her at LVH-M were agents or

employees of Good Shepherd.

        32.      Plaintiff testified that there were separate entrances for Good Shepherd and the

ICU at LVH-M. (See Deposition of John T. Raymond attached as Exhibit J, at 117:16 – 118:6).

        33.      Plaintiff did not have any trouble differentiating the care at Good Shepherd from

the care at LVH-M in the ICU. (Id., at 114:4 – 115:18).

        34.      He did not witness the thoracentesis on March 8, 2018. (Id. at 60:13-16).

        35.      There is no evidence that Good Shepherd was negligent.

        36.      There is no evidence that the care provided by Good Shepherd was below the

standard.

        37.      There is no evidence that PA Lieberman was an agent or employee of Good

Shepherd.

        38.      Summary judgment should be entered in favor of Good Shepherd and against all

other parties.




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                                    Respectfully submitted,

                                    GERMAN, GALLAGHER & MURTAGH


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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


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                  v.                        NO. 5:20-CV-00959-EGS

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HOFFMAN, M.D.; THE ALLENTOWN
SPECIALTY HOSPITAL d/b/a GOOD
SHEPHERD SPECIALTY HOSPITAL; LEHIGH
VALLEY HOSPITAL, INC.; et al.


         BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT OF
          DEFENDANT, THE ALLENTOWN SPECIALTY HOSPITAL d/b/a
                   GOOOD SHEPHERD SPECIALTY HOSPITAL




                                   GERMAN, GALLAGHER & MURTAGH


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    I.       INTRODUCTION

         Presently before the Court is the Motion for Summary Judgment of Defendant, The

Allentown Specialty Hospital d/b/a Good Shepherd Specialty Hospital (hereinafter, “Good

Shepherd”).

         This medical negligence case arises from a thoracentesis performed on Plaintiff, John T.

Raymond’s late wife on March 8, 2018. It is undisputed that Mrs. Raymond had the procedure at

Lehigh Valley Hospital-Muhlenberg and that it was performed by Amanda Lieberman, PA-C

(“PA Lieberman”). It is undisputed that Good Shepherd is a separate and distinct entity from

Lehigh Valley Hospital-Muhlenberg. None of Plaintiffs’ experts state that the care provided by

Good Shepherd was below the standard. Accordingly, there is no direct evidence that Good

Shepherd was negligent or breached any duty.

         It is undisputed that PA Lieberman was employed by Medical Imaging of Lehigh Valley

at the time of the procedure. It is undisputed that PA Lieberman was not an independent

contractor of Good Shepherd at the time of the procedure. Accordingly, there is no evidence to

support a theory of negligence against Good Shepherd based on actual agency or vicarious

liability.

         Similarly, there is no evidence to support a theory that PA Lieberman was an ostensible

agent of Good Shepherd. There is no evidence that Mrs. Raymond, anyone from her family, or

any reasonable person would have believed that the providers treating her at Lehigh Valley

Hospital-Muhlenberg were agents or employees of Good Shepherd.

         Accordingly, and for the reasons set forth herein, summary judgment should be entered in

favor of Good Shepherd.
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    II.       QUESTION PRESENTED

           Should summary judgment be entered in favor of Good Shepherd, because there is no

genuine dispute of any material fact and Good Shepherd is entitled to judgment as a matter of

law?

           Suggested Answer: Yes.

    III.      RELEVANT PROCEDURAL HISTORY AND FACTS

           On February 24, 2020, Plaintiff commenced this civil action by filing a Complaint

against Defendants, PA Lieberman; Errin J. Hoffman, M.D. (“Dr. Hoffman”); Good Shepherd;

Lehigh Valley Hospital, Inc. (“LVH”), and unspecified fictitious persons and entities. [ECF Doc.

1]. An Amended Complaint was filed on May 15, 2020, against the same defendants. [ECF Doc.

25]. Good Shepherd filed an Answer on June 5, 2020, and an Amended Answer on August 10,

2020. [ECF Doc. 37; ECF Doc. 48]. Fact discovery was to be completed by April 30, 2021, and

Plaintiffs’ expert reports were due June 14, 2021. [ECF Doc. 68]. Dispositive motions are due by

October 29, 2021; therefore, this motion is timely filed. [ECF Doc. 78].

           In the Amended Complaint, Plaintiffs allege Diane Raymond died following

complications from a right thoracentesis performed by PA Lieberman on March 8, 2018. [ECF

Doc No. 25, ¶¶ 18-30]. Plaintiffs did not allege that any specific acts or omissions of Good

Shepherd caused Mrs. Raymond’s death. Rather, Plaintiffs’ theories of negligence against Good

Shepherd are based on vicarious liability and ostensible agency under 40 Pa.C.S. § 1303.516.

(Id., ¶¶ 54-62 (Count Three, “Negligence/Ostensible Agency”); 102-112 (Count Nine,

“Negligent Infliction of Emotional Distress/Ostensible Agency”); 138-146 (Count Thirteen

“Survival/Vicarious Liability”); 170-178 (Count Seventeen, “Wrongful Death/Vicarious

Liability”)).



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          For brevity, Good Shepherd incorporates by reference its Statement of Undisputed

Material Facts as if fully set forth at length herein.

    IV.        LEGAL ARGUMENT

          A.     Legal Standard

          Summary judgment is warranted if there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56. A dispute is

“genuine if there is a sufficient evidentiary basis on which a reasonable jury could find for the

non-moving party, and a factual dispute is ‘material’ only if it might affect the outcome of the

suit under governing law.” Kaucher v. County of Bucks, 455 F.3d 418, 423 (3d Cir. 2006) (citing

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, (1986)).

          When considering a motion for summary judgment, the court must determine whether the

evidence is such that a reasonable jury could return a verdict for the non-moving party. Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In making this determination, the court must

view all facts, and any reasonable inferences therefrom, in the light most favorable to the non-

moving party. Id. Once the moving party has met the initial burden of demonstrating the absence

of a genuine issue of material fact, the non-moving party must establish the existence of each

element of its case. J.F. Feeser, Inc. v. Serv-A-Portion, Inc., 909 F.2d 1524, 1531 (3d Cir.1990)

(citing Celotex Corp. v.. Catrett, 477 U.S. 317, 323 (1986)). A party opposing summary

judgment must do more than just rest upon mere allegations, general denials, or vague

statements. See Trap Rock Indus., Inc. v. Local 825, 982 F.2d 884, 890 (3d Cir.1992).

“[U]nsupported assertions, conclusory allegations or mere suspicions” are insufficient to defeat a

motion for summary judgment. Schaar v. Lehigh Valley Health Servs., Inc., 732 F. Supp. 2d 490,




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493 (E.D. Pa. 2010) (citing Williams v. Borough of W. Chester, Pa., 891 F.2d 458, 461 (3d Cir.

1989)).

             B.     Good Shepherd did not breach any duty of care.

          Plaintiffs does not allege that any specific acts or omissions of Good Shepherd caused

Mrs. Raymond’s death. [ECF Doc. 25]. There are no direct negligence claims against Good

Shepherd, and there is no evidence that Good Shepherd was negligent or breached any duty. (Id.)

None of Plaintiffs’ experts state that the care provided by Good Shepherd was below the

standard. See, e.g., Ex. H. Accordingly, Plaintiffs’ claims against Good Shepherd are solely

based on vicarious liability for the alleged negligence of PA Lieberman.

             C.     PA Lieberman was neither an employee nor contractor of Good
                    Shepherd.

          As a matter of law, Good Shepherd cannot be liable for the acts of PA Lieberman as she

was neither an employee, agent, nor independent contractor of Good Shepherd. (Ex. A, at 22:25

– 23:20; 29:24 – 30:4; 36:18 – 37:7; see also ECF Doc No. 51, ¶ 2). It is undisputed that PA

Lieberman was employed by Medical Imaging of Lehigh Valley at the time of the procedure at

LVH-M. (Id.) Accordingly, there is no evidence to support a theory of negligence against Good

Shepherd based on actual agency or employment.

             D.     No evidence that PA Lieberman was an ostensible agent of Good

                    Shepherd.

          Similarly, there is no evidence to support a theory that PA Lieberman was an ostensible

agent of Good Shepherd.




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       Pennsylvania courts first applied the theory of ostensible agency embodied in

Restatement (Second) of Agency § 2671 and Restatement (Second) of Torts § 4292 to hospitals

engaging the services of physicians on an independent contractor basis in Capan v. Divine

Providence Hospital, 430 A.2d 647 (Pa. Super. 1980). Thereafter, the following factors were

applied to determine ostensible agency: "(1) whether the patient looks to the institution, rather

than the individual physician for care and (2) whether the hospital `holds out' the physician as its

employee." Yacoub v. Lehigh Valley Med. Assocs., P.C., 805 A.2d 579, 591 (Pa. Super. 2002)

(quoting Goldberg v. Isdaner, 780 A.2d 654, 660 (Pa. Super. 2001) (citing McClellan v. HMO,

604 A.2d 1053, 1057 (Pa. Super. 1992))). "A holding out occurs `when the hospital acts or omits

to act in some way which leads the patient to a reasonable belief he is being treated by the

hospital or one of its employees.'" Id. (quoting Capan, 430 A.2d at 649).

       Eventually, the Medical Care Availability and Reduction of Error Act (MCARE Act), 40

P.S. §1303.101 et seq., codified the law of ostensible agency as follows:

       “(a) Vicarious liability—A hospital may be held vicariously liable for the acts of
       another health care provider through principles of ostensible agency only if the
       evidence shows that: (1) a reasonably prudent person in the patient's position
       would be justified in the belief that the care in question was being rendered by the
       hospital or its agents; or (2) the care in question was advertised or otherwise
       represented to the patient as care being rendered by the hospital or its agents.”

40 Pa. Stat. § 1303.516 (emphasis added).




1
  Restatement (Second) of Agency § 267 defines ostensible agency as “[o]ne who represents that
another is his servant or other agent and thereby causes a third person justifiably to rely upon the
care or skill of such apparent agent is subject to liability to the third person for harm caused by
the lack of care or skill of the one appearing to be a servant or other agent as if he were such.”
2
   Restatement (Second) of Torts § 429 provides that one who employs an independent contractor
to perform services for another which are accepted in the reasonable belief that the services are
being rendered by the employer or by his servants, is subject to liability for physical harm caused
by the negligence of the contractor in supplying such services, to the same extent as though the
employer were supplying them himself or by his servants.
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        Notably, in the cases addressing ostensible agency in the healthcare setting, the provider

at issue was an independent contractor of the medical facility. See Boyd v. Albert Einstein Med.

Ctr., 547 A.2d 1229 (Pa. Super. 1988) (finding that an independent contractor physician could be

an ostensible agency of an HMO); Parker v. Freilich, 803 A.2d 738, 746–50 (Pa. Super. 2002),

app. denied, 820 A.2d 162 (Pa. 2003) (finding that an independent contractor nurse could be the

ostensible agent of a physician who performs an in-office procedure). The classic example is

where a patient enters a hospital emergency room and accepts care from the doctor that is

assigned by the hospital. In those situations, the patient is looking to the hospital for care and the

hospital can be seen as holding out the doctor as its agent. See Corrigan v. Methodist Hosp., 869

F.Supp. 1208, 1213 (E.D. Pa.1994); see also Graham v. Barolat, CA 03-2029, 2004 WL

2668579, at *6 (E.D. Pa. Nov. 17, 2004) (granting summary judgment on the ostensible agency

claim because plaintiff presented no evidence to indicate she looked to the hospital for care and

she first saw the physician at his private office).

        Here, there is no evidence to support a claim that PA Lieberman was an ostensible agent

of Good Shepherd. First, there is no evidence that a reasonably prudent person would be justified

in believing that the thoracentesis was performed by Good Shepherd or its agents. It is

undisputed that Mrs. Raymond was transferred from Good Shepherd to the Interventional

Radiology department at LVH-M for the procedure. (Ex. A, 101:13-21; 102:12-103:3). It is

undisputed that PA Lieberman was neither an employee nor independent contractor of Good

Shepherd. (Ex. A, at 22:25 – 23:20; 29:24 – 30:4; 36:18 – 37:7; see also ECF Doc No. 51, ¶ 2).

Rather, she was an employee of Medical Imaging of Lehigh Valley, a private practice group

employed by LVH-M. (Id.; see also Ex. E, 23:4-14).




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       It is undisputed that the thoracentesis was performed at LVH-M and that LVH-M had a

written procedure for same. (See Ex. A, at 101:13-21; 102:12-103:3; see also Ex. F, at 22:18 –

44:7; Ex. G). It is undisputed that Good Shepherd is a separate and distinct entity from LVH-M.

The facilities have separate electronic medical records, separate licenses, separate nursing staff,

and separate policies and procedures. (See Ex. A – Ex. J). There is no evidence that Mrs.

Raymond or anyone from her family believed, or were led to believe, that PA Lieberman was an

agent or employee of Good Shepherd.

       Second, there is no evidence that the care in question was advertised or otherwise

represented as care being rendered by Good Shepherd or its agents. To the contrary, when

obtaining consent for the procedure, PA Minchew identified herself to Plaintiff as a “physician

assistant at Lehigh Valley Hospital”. (See Ex. B, at 48:2 – 53:23; Ex. C). There is no genuine

issue of material fact in dispute on this issue. Accordingly, there is no evidence that could

support the ostensible agency claim against Good Shepherd.

           E.      Plaintiffs’ NIED claim fails as a matter of law.

       Pennsylvania law limits negligent infliction of emotional distress (“NIED”) claims to

four scenarios: (1) situations where the defendant owed a contractual or fiduciary duty to the

plaintiff; (2) the plaintiff was subjected to physical impact; (3) the plaintiff was in a zone of

danger and reasonably experienced a fear of impending physical injury; or (4) the plaintiff

observed a tortious injury to a close relative. Weiley v. Albert Einstein Med. Ctr., 51 A.3d 202,

217 (Pa. Super. 2012); see also Runner v. C.R. Bard, 108 F. Supp.3d 261, 272 (E.D. Pa. 2015).

In the medical malpractice setting, a plaintiff must have actually observed the negligent act or

conduct giving rise to such injury, not just its consequences. See Halliday v. Beltz, 514 A.2d 906




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(Pa. Super. 1986) (affirming dismissal of NIED claim in medical malpractice case because

husband and daughter did not observe negligent acts while they were performed).

        Although Plaintiffs assert a NIED claim against Good Shepherd, this claim also fails

because there is no negligence attributed to Good Shepherd. (See Ex. H). Moreover, Plaintiff did

not witness the alleged negligent acts of PA Lieberman while they were performed. (Ex. J, at

60:13-16). Accordingly, Plaintiffs cannot establish a NEID claim against Good Shepherd.

   V.      RELIEF REQUESTED

        For the foregoing reasons, Good Shepherd respectfully requests that the Court grant its

Motion for Summary Judgment and enter judgment in its favor and against all other parties.

There is no evidence that could establish a claim against Good Shepherd. No expert is critical of

the care provided by Good Shepherd. The care at issue was performed by PA Lieberman at

LVH-M, not Good Shepherd. PA Lieberman is employed by Medical Imaging of Lehigh Valley

and works at LVH-M, not Good Shepherd. There is no evidence that a reasonably prudent person

would be justified in believing that the thoracentesis was performed by Good Shepherd or its

agents. Good Shepherd is a separate and distinct entity from LVH-M. The facilities have separate

electronic medical records, separate licenses, separate nursing staff, and separate policies and

procedures. Neither Mrs. Raymond nor anyone from her family believed, or were led to believe,

that PA Lieberman was an agent or employee of Good Shepherd. There is no evidence that the

thoracentesis was advertised or otherwise represented as care being rendered by Good Shepherd

or its agents. To the contrary, when obtaining consent for the procedure, PA Minchew identified

herself to Plaintiff as a “physician assistant at Lehigh Valley Hospital”. Summary judgment is

warranted as there is no genuine issue of material fact in dispute and Good Shepherd is entitled

to judgment as a matter of law.



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                                   Respectfully submitted,

                                   GERMAN, GALLAGHER & MURTAGH


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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ESTATE OF DIANE HELEN RAYMOND by the
Executor JOHN T. RAYMOND and JOHN T.
RAYMOND, individually,

                   v.                                  NO. 5:20-CV-00959-EGS

AMANDA R. LIEBERMAN, PA-C; ERRIN J.
HOFFMAN, M.D.; THE ALLENTOWN
SPECIALTY HOSPITAL d/b/a GOOD
SHEPHERD SPECIALTY HOSPITAL; LEHIGH
VALLEY HOSPITAL, INC.; et al.



                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a true and correct copy of the foregoing Motion for

Summary Judgment was served upon all parties via E.C.F. on the date set forth below.

                                            GERMAN, GALLAGHER & MURTAGH


Dated: October 18, 2021                     By: /s/ John P. Shusted
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                   EXHIBIT "A"
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                                               Page 22                                                 Page 24
 1    because you don't work there anymore?               1   Q.     And it says Medical Imaging of Lehigh
 2    A.     Correct.                                     2   Valley on it? I didn't hear that.
 3    Q.     And so tell me what you did there at         3   A.     Yes.
 4    DRA Imaging.                                        4   Q.     Are you employed by Lehigh Valley
 5    A.     The list of my duties are listed on          5   Health Network at all?
 6    my CV, but our primary job was to perform           6   A.     No.
 7    procedures in the radiology department.             7   Q.     Where is Medical Imaging of the Lehigh
 8    Q.     At a hospital?                               8   Valley located?
 9    A.     Hospital and office-based procedures.        9         MS. SHANNON: Object to the form, but
10    Q.     So does this CV accurately summarize        10   you can answer.
11    what you did?                                      11         THE WITNESS: The business office is
12    A.     So I'll look at it again. Those are         12   located on Cedar Crest Boulevard and the
13    our most common responsibilities.                  13   interventional radiology office is located at
14    Q.     You had additional tasks that you did?      14   that location.
15    A.     Yes. There were some other -- other         15   BY MR. WILHELM:
16    responsibilities.                                  16   Q.     Okay. Is there a number for Cedar
17    Q.     Like generally, tell me what those          17   Crest Boulevard?
18    other responsibilities would have been.            18   A.     I don't -- I don't know the address
19    A.     One example would be placement of PICC      19   offhand. I don't work out of that office.
20    lines. Another example would be performance of     20   Q.     Okay. Where do you work out of?
21    hip arthrograms.                                   21   A.     The hospital and at the 1230 building
22    Q.     And why did you leave that job?             22   at Lehigh Valley Imaging is an outpatient
23    A.     Because I was moving back to                23   diagnostic office under the umbrella of Medical
24    Pennsylvania.                                      24   Imaging.
25    Q.     And then it appears you became a            25   Q.     When you say 1230, you mean 1230 Cedar
                                               Page 23                                                 Page 25
 1    physician assistant at Medical Imaging of Lehigh    1   Crest Boulevard?
 2    Valley around March of 2012, correct?               2   A.      Yes. The 1230 building on the campus
 3    A.     Correct.                                     3   of Lehigh Valley Hospital.
 4    Q.     Now, there was a gap for about a year        4   Q.      So how many offices does Medical
 5    and a half between the time you left New York       5   Imaging of Lehigh Valley have, to your
 6    and you got hired at Medical Imaging. What was      6   knowledge?
 7    the reason for that gap?                            7   A.      The Medical Imaging has one office.
 8    A.     Because I had a baby and stayed home         8   There's one office.
 9    with her for a year.                                9   Q.      Okay. But there's also a business
10    Q.     So are you still employed by Medical        10   office?
11    Imaging of the Lehigh Valley?                      11   A.      I don't work out of the Medical Imaging
12    A.     Yes.                                        12   office. The interventional radiologists and
13    Q.     And you've been so since roughly March      13   nurse practitioners see outpatients in that
14    of 2012 to the present, correct?                   14   office. I don't see patients there. I don't go
15    A.     Correct.                                    15   there. I couldn't tell you the suite number of
16    Q.     Without interruption?                       16   that office. And the business office is located
17    A.     Correct.                                    17   in that same building, but I also don't work out
18    Q.     Is Medical Imaging of the Lehigh Valley     18   of there or report there. The other site --
19    your actual employer?                              19   okay.
20    A.     Correct.                                    20   Q.      I'm sorry. Go ahead.
21    Q.     Are you a W-2 employee or a 1099            21   A.      The other site I mentioned at the 1230
22    employee?                                          22   building on Lehigh Valley Hospital's campus, we
23    A.     I don't know the answer to that.            23   call that the -- that's -- we call it the LVI,
24    Q.     You get a paycheck on a regular basis?      24   the Lehigh Valley Imaging office. That's where
25    A.     Yes.                                        25   outpatient ultrasounds and x-rays are performed,

                                                                                          7 (Pages 22 - 25)
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                                                Page 26                                                Page 28
 1    and we perform arthrograms in that office.           1   campus of the hospital that we perform
 2    Q.      So when you say you report, where do         2   procedures.
 3    you report to work? At the hospital?                 3   BY MR. WILHELM:
 4    A.      The physician assistants have an office      4   Q.     Okay. So if I came to Cedar Crest
 5    at the hospital, yes.                                5   Boulevard and I-78 and I was looking for Medical
 6    Q.      Who owns Medical Imaging of the Lehigh       6   Imaging, are there signs there that would tell
 7    Valley?                                              7   me -- that say Medical Imaging of the Lehigh
 8    A.      I don't know the answer to that.             8   Valley?
 9    Q.      Who is the CEO of Medical Imaging of         9   A.     I don't believe there's a sign.
10    the Lehigh Valley?                                  10   Q.     How would I --
11    A.      I don't know if that's Greg -- I'm not      11   A.     I don't recall the building number. I
12    sure of everyone's title, honestly. I don't         12   could walk you there, but I don't recall the
13    want to answer incorrectly. I'm not sure.           13   building number.
14    Q.      Okay. That's fine.                          14   Q.     That's fair.
15          Do you have any ownership in Medical          15         So how would I as a member of the
16    Imaging of the Lehigh Valley?                       16   public distinguish between Medical Imaging of
17    A.      No.                                         17   the Lehigh Valley and Lehigh Valley Health
18    Q.      So you're having a little bit of            18   Network if they're located at the same place?
19    difficulty trying to explain to me exactly where    19         MS. WEED: Object to the form.
20    Medical Imaging of the Lehigh Valley is located,    20         MS. SHANNON: Objection to the form. I
21    and I'm having a little difficulty understanding    21   think -- well, objection to the form.
22    you. Okay? And it's not a criticism of you. I       22   BY MR. WILHELM:
23    guess that's the way it's set up.                   23   Q.     Go ahead. Answer the question.
24          But if I were to say I wanted to go to        24         MS. SHANNON: If you can understand,
25    Medical Imaging of the Lehigh Valley on Cedar       25   you can answer.
                                                Page 27                                                Page 29
 1    Crest Boulevard, where might I go?                   1         THE WITNESS: Can you repeat the
 2    A.      If you wanted to go to Medical Imaging       2   question?
 3    offices, I don't remember the building number.       3         MS. WEED: I objected to the form. I'm
 4           MS. SHANNON: I can't. I can't tell            4   sorry. I don't know if you could hear me with
 5    you what it is.                                      5   the muting.
 6    BY MR. WILHELM:                                      6   BY MR. WILHELM:
 7    Q.      Yeah, she can't answer questions for         7   Q.     So how is somebody like myself if they
 8    you. If you don't know --                            8   came to Cedar Crest and I-78 and were looking
 9           MS. SHANNON: I would love to because          9   for Medical Imaging of the Lehigh Valley, how
10    we could get through this part, but I can't.        10   are they going to find that office?
11           THE WITNESS: I was just there the            11   A.     Because they would have a building and
12    first time the other day. I don't -- I don't        12   suite number to go to. Again, the Medical
13    know the building number. It's located              13   Imaging of the Lehigh Valley, which implies the
14    across -- it's across from the hospital. It's a     14   interventional radiology office, is located in
15    suite in the building.                              15   the corporate center across the street from the
16           Again, the outpatient Medical Imaging        16   hospital on Cedar Crest Boulevard.
17    of the Lehigh Valley office where interventional    17   Q.     All right. But you are acknowledging
18    radiology patients are seen by the                  18   that Medical Imaging does work at Lehigh Valley
19    interventional radiologists, and nurse              19   Hospital?
20    practitioners see patients out of that office.      20         MS. WEED: Object to the form.
21    And then adjacent to that is the administrative     21         MS. SHANNON: Objection to the form.
22    offices for Medical Imaging of the Lehigh           22         MS. WEED: Join.
23    Valley.                                             23   BY MR. WILHELM:
24           The other office I mentioned is just an      24   Q.     Right? You said you're an employee of
25    outpatient imaging office where we -- on the        25   Medical Imaging of the Lehigh Valley, correct?

                                                                                           8 (Pages 26 - 29)
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 1    A.      Correct.                                 1      Q.     The radiology department of the
 2    Q.      You do procedures at Lehigh Valley       2      hospital?
 3    Hospital, correct?                               3      A.     Yes.
 4    A.      Correct.                                 4      Q.     So tell me what kind of procedures you
 5    Q.      Do you have any knowledge as to how the 5       perform.
 6    business relationship between Medical Imaging of 6      A.     Again, there's a list of procedures,
 7    the Lehigh Valley and Lehigh Valley Health       7      but the most common procedures I perform are
 8    Network is arranged?                             8      ultrasound-guided thyroid and lymph node biopsy,
 9    A.      I have no knowledge of that.             9      ultrasound-guided paracentesis and
10    Q.      What is Cal Imaging, C-A-L, Cal Imaging 10      thoracentesis, fluoroscopically guided joint
11    of the Lehigh Valley?                           11      injection and aspiration, fluoroscopically
12    A.      I've never heard of that.               12      guided lumbar punctures, myelograms. Those are
13    Q.      Did you work at Cal Imaging of the      13      the most common procedures.
14    Lehigh Valley between May of 2018 and February 14       Q.     Okay. How frequently do you work? Do
15    of 2019?                                        15      you have a set schedule, for instance?
16          MS. SHANNON: Are you saying Cal, C as 16          A.     I work two -- generally two days a
17    in cat?                                         17      week.
18          MR. WILHELM: C-A-L.                       18      Q.     Full days?
19          THE WITNESS: No.                          19      A.     Yes.
20    BY MR. WILHELM:                                 20      Q.     10 hours, 8 hours?
21    Q.      Okay. You have individual -- you have   21      A.     Approximately 8 hours.
22    individual professional liability insurance,    22      Q.     And how long have you been working two
23    correct?                                        23      days a week?
24    A.      I have malpractice insurance, if that's 24      A.     Since I started work at Medical
25    what you mean.                                  25      Imaging.
                                               Page 31                                                Page 33
 1    Q.      Sure. Let me ask that better. I'm           1   Q.     According to your CV, you are a
 2    sorry.                                              2   radiology physician assistant. Have you ever
 3           Do you have your own individual              3   had any other job titles at Medical Imaging?
 4    professional policy that you obtained that you      4   A.     No.
 5    pay for?                                            5   Q.     Do you have a direct supervisor at
 6    A.      No, I do not.                               6   Medical Imaging?
 7    Q.      You have coverage through Medical           7   A.     What do you mean by direct supervisor?
 8    Imaging of the Lehigh Valley?                       8   Q.     Someone that you would report to.
 9    A.      Correct.                                    9   You're employed by Medical Imaging. Is there
10    Q.      Do you have any insurance coverage from    10   somebody at Medical Imaging that you have to
11    anywhere else other than Medical Imaging of the    11   report to?
12    Lehigh Valley, to your knowledge?                  12         MS. SHANNON: Object to the form.
13           MS. SHANNON: For professional               13         THE WITNESS: I still have to answer?
14    liability?                                         14         MS. SHANNON: You can answer. I think
15           MR. WILHELM: Yes.                           15   the disconnect is the difference between
16           THE WITNESS: No, I do not.                  16   clinically -- does she report to someone
17    BY MR. WILHELM:                                    17   clinically versus does she report to someone in
18    Q.      Okay. So what is your job title at         18   an HR sense. I think that's the --
19    Medical Imaging?                                   19         MR. WILHELM: Understood.
20    A.      Physician assistant.                       20   BY MR. WILHELM:
21    Q.      All right. And tell me what your job       21   Q.     For instance, there's paralegals that
22    duties are.                                        22   work with me that would work under me, report to
23    A.      We have many duties, but our main          23   me. Is there somebody that you have to report
24    responsibility is performing procedures in the     24   to aside from a doctor you might be working with
25    radiology department.                              25   on a particular patient?

                                                                                          9 (Pages 30 - 33)
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                                                Page 34                                                     Page 36
 1    A.       I'm sorry. You broke up there. Could        1   How do you get involved in that particular
 2    you repeat that question?                            2   patient's care?
 3    Q.       Sure. Do you have a supervisor that         3         In other words, are they coming to see
 4    you report to on any type of regular basis aside     4   you or are they coming to see a doctor and then
 5    from the doctor you're working with on a             5   a doctor assigns you a task, that type of thing?
 6    particular patient?                                  6   A.      And again, I'm sorry if I caused
 7    A.       No, I do not.                               7   confusion about Medical Imaging and the
 8    Q.       Okay. So in other words, I asked you        8   hospital. I don't see patients at all at the
 9    earlier who the CEO of Medical Imaging is, and       9   Medical Imaging of the Lehigh Valley office.
10    you said you weren't sure, right?                   10   Those patients are interventional radiology
11           Are there managers of Medical Imaging        11   outpatients, and those are only seen by the
12    or is it just doctors?                              12   interventional radiologists and the nurse
13    A.       The leadership that I'm aware of, Greg     13   practitioners.
14    Palmieri and Jim Foley, are, you know, involved     14         Patients that I am seeing are
15    in the administration of Medical Imaging. I do      15   physically at the hospital or at the 1230
16    not have to directly report to them for any         16   building office of the -- the outpatient
17    reason.                                             17   diagnostic office.
18    Q.       Are they physicians?                       18   Q.      Okay. So again -- and I'm sorry. I
19    A.       No.                                        19   apologize if I'm not being clear. How is it
20    Q.       So do you -- when you're working with a    20   that you end up seeing patient A?
21    particular patient, do you report to a physician    21   A.      So there's a team of physician
22    at Medical Imaging?                                 22   assistants, and our lead PA will make
23    A.       I report to my supervising physician,      23   assignments on what area of radiology -- of what
24    if necessary.                                       24   radiology area we're assigned to that day. And
25    Q.       Do you have any patients that would        25   we have a list of outpatients on the schedule,
                                                Page 35                                                     Page 37
 1     just be yours where there is no physician           1   and then we will get inpatient add-ons
 2     involved?                                           2   throughout the day, and we help each other to
 3           MS. SHANNON: Object to the form, but          3   cover those procedures.
 4     you can answer.                                     4         And I forgot to mention, I also perform
 5           THE WITNESS: A physician assistant            5   procedures at Lehigh Valley Hospital-Muhlenberg.
 6     functions under the direct supervision of a         6   We work at both sites. Both have -- in the
 7     physician.                                          7   radiology department.
 8     BY MR. WILHELM:                                     8   Q.     Okay. Thank you.
 9     Q.     For all your patients?                       9         Okay. So there's a lead physician
10     A.     Yes.                                        10   assistant, you just said, who's going to
11     Q.     At Medical Imaging are there also           11   basically assign tasks?
12     nurses employed?                                   12   A.     He'll assign a physician assistant to
13     A.     No.                                         13   fluoro-guided procedures, assign someone to
14     Q.     To your knowledge, is it just               14   ultrasound-guided, but, you know, we work as a
15     physicians and physician's assistants?             15   team to help each other, you know, take care of
16     A.     And nurse practitioners.                    16   the patients.
17     Q.     And nurse practitioners. Okay. Do you       17   Q.     Right. Okay. So it would be accurate
18     have any supervisory role over anybody at          18   to say you work with numerous -- more than one
19     Medical Imaging on a regular basis?                19   patient at a time? In other words, if you come
20     A.     No.                                         20   in on a Monday to work, there's -- you're likely
21     Q.     So how is it through Medical Imaging        21   to work -- be dealing with more than one
22     that you typically are assigned a task?            22   patient, is that correct?
23     A.     What do you mean by task?                   23   A.     You said at a time. Do you mean in a
24     Q.     A job. A patient comes in -- a patient      24   given day?
25     goes to Medical Imaging for whatever reason.       25   Q.     Yes, in a given day.

                                                                                            10 (Pages 34 - 37)
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                                                   Page 46                                                  Page 48
 1    Q.      Like an x-ray, for instance?                    1   that's not a good word. Do you put all of your
 2    A.      Yes.                                            2   orders and your notes -- in the system, do you
 3    Q.      Do those orders have to be under the            3   type them in or do you write them out on a piece
 4    name of a -- for instance, if you're going to           4   of paper?
 5    order a chest x-ray, does it have to be under           5   A.      They're typed.
 6    the name of a doctor?                                   6   Q.      Do you personally do it?
 7    A.      The order is under my name. Currently           7   A.      Usually I do. There are occasions when
 8    we operate under -- Epic is the electronic              8   a verbal order is given to a nurse, and she'll
 9    medical record. When I'm ordering medications           9   enter the order under -- under me then to be
10    or if I ordered an imaging study within the            10   cosigned by the supervising physician.
11    electronic medical record, any physician               11   Q.      Okay. But no paper -- no paper notes?
12    assistant entering an order in there would have        12          MS. SHANNON: Object to the form. Hold
13    to assign a cosigner to the order which would be       13   on. Object to the form.
14    my -- one of my supervising physicians.                14   BY MR. WILHELM:
15    Q.      The Epic system, E-P-I-C?                      15   Q.      I don't mean notes. I mean paper
16    A.      E-P-I-C is the name of the hospital --         16   records.
17    the hospital network's electronic medical              17          MS. SHANNON: Pertaining to her
18    record.                                                18   procedures?
19    Q.      So what you just described is the way          19          MR. WILHELM: Yes.
20    you do it under the Epic system?                       20          MS. SHANNON: Okay.
21    A.      Correct. Could I finish -- could I             21          THE WITNESS: Not since Epic.
22    further --                                             22   BY MR. WILHELM:
23    Q.      Yes.                                           23   Q.      Okay. That's fine.
24    A.      If I was writing an order on a                 24   A.      Except for --
25    prescription pad or writing a prescription for a       25   Q.      Go ahead.
                                                   Page 47                                                  Page 49
 1    patient on a prescription pad, which rarely             1   A.      Okay. You asked about notes. No, no
 2    occurs because of the adoption of the electronic        2   notes.
 3    medical record, I do not need that cosigned by a        3   Q.      Is there an exception?
 4    physician.                                              4   A.      No. I was going to say that if a
 5    Q.      Okay. Thank you.                                5   patient brings -- if an outpatient would bring
 6          But I'm a patient of yours, and you               6   some type of outside document, there are --
 7    decide I need a chest x-ray. You put it in the          7   forms can be scanned into Epic, but when it's
 8    Epic system. You're saying there would be a             8   relating to me and my documentation, that is
 9    doctor who would have to cosign that?                   9   only in Epic. I just wanted to clarify that.
10    A.      Yes.                                           10   Q.      Thank you.
11    Q.      So briefly tell me about the Epic              11          So tell me now, let's just say in the
12    system. Is that just a Lehigh Valley Network           12   last few years, what kind of procedures you have
13    system or is that a nationwide system? What do         13   experience in. You know, for instance -- just
14    you know about it?                                     14   for instance, you use the words fluoroscopy and
15          MS. SHANNON: Object to the form. You             15   thoracentesis and paracentesis, whatever.
16    can answer.                                            16          Just, say, in the last three or four
17          THE WITNESS: I could just tell you               17   years, tell me generally what your experience is
18    that Lehigh Valley Hospital Network has                18   procedure-wise.
19    adopted -- several years ago adopted Epic, but         19   A.      The same procedures that I listed
20    there's other networks that also operate under         20   before, the same list. Do you need me to repeat
21    Epic. I know St. Luke's does as well, and there        21   the list?
22    can be communication between different networks        22   Q.      There were about nine of them. Yes,
23    through Epic.                                          23   please repeat the list.
24    BY MR. WILHELM:                                        24   A.      You want me to repeat my list?
25    Q.      Okay. So on charting -- or maybe               25   Q.      Please.

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                                                Page 54                                                 Page 56
 1           (Discussion held off the record.)             1   they would arrive in the department for consent.
 2           THE WITNESS: I just said it's very            2   Q.     Okay. Other than consent, is there
 3    difficult to answer that given that the              3   anything else you speak with the patient about?
 4    department is structured slightly differently at     4         In other words, do you explain the
 5    Muhlenberg, you know, versus at Cedar Crest.         5   procedure to them or are you relying on somebody
 6           But in general, you know, I'm focused         6   else having explained the procedure, that type
 7    to review the pertinent aspects of the patient's     7   of thing?
 8    chart, specifically, again, imaging, if they're      8         MS. SHANNON: Objection to the form.
 9    on anticoagulation and their pertinent blood         9   If you don't understand, you can ask him to
10    work, and that may be all that's necessary to       10   clarify.
11    review before the procedure.                        11         THE WITNESS: Could you clarify that?
12    BY MR. WILHELM:                                     12   Ask that again.
13    Q.      And you make the decision on what           13   BY MR. WILHELM:
14    you're going to review yourself?                    14   Q.     Sure. Do you speak with the patient, I
15    A.      Yes. Yes, in conjunction with the           15   asked you, and you said yes, to get consent,
16    nurse. If the nurse would alert me to -- you        16   correct?
17    know, to some concern or if the triage nurse        17   A.     Yes.
18    would speak to the patient's nurse and any          18   Q.     Do you speak with the patient about
19    concern would be raised -- any concern would be     19   anything else other than consent for the
20    brought up there, you know, I might investigate     20   procedure?
21    further.                                            21   A.     I answer their questions, I explain the
22    Q.      Okay.                                       22   procedure, and I make sure, you know, to answer
23    A.      But that's a very general answer, and       23   any -- you know, any questions the patient has,
24    that very much so depends. My scope of practice     24   I do my best to answer --
25    is to perform a procedure within our guidelines     25   Q.     Okay.
                                                Page 55                                                 Page 57
 1    as long as there's no contraindication to the        1   A.      -- you know, before the procedure.
 2    procedure.                                           2   Q.      Okay. So after you performed, let's
 3    Q.      Okay. Do you have the ability to look        3   say, a thoracentesis again and the procedure is
 4    at the patient's chart if you -- entire medical      4   completed, what do you do from the time the
 5    chart if you wanted to?                              5   procedure is completed in terms of documenting
 6           MS. SHANNON: Objection to the form.           6   what you've done?
 7           THE WITNESS: That depends -- where is         7   A.      So the question is, what do I document
 8    the patient coming -- it depends where the           8   after the thoracentesis?
 9    patient is from.                                     9   Q.      After the procedure is over, what do
10    BY MR. WILHELM:                                     10   you do? You just got done actually performing
11    Q.      Well, if they're at -- if they're in        11   the procedure. You're taking off your gloves,
12    the Epic system, you would have access to that      12   whatever, you know, and you're leaving, what do
13    chart, correct?                                     13   you do?
14    A.      If the patient was an inpatient at          14          MS. SHANNON: Objection to the form.
15    Lehigh Valley Health Network, then their recent     15   You can answer.
16    documentation would be in the Epic record. If a     16          THE WITNESS: So I would make sure my
17    patient was coming from -- an outpatient coming     17   patient was feeling okay; I would leave and
18    from an outside facility, I wouldn't necessarily    18   document my procedure note; I would order their
19    have, you know, access to any of their records.     19   postprocedure chest x-ray; and that would be it.
20    Q.      How about interviewing a patient before     20   They'd be returned to the floor, you know,
21    a procedure, do you do that or are you going on     21   returned back to their room if you're talking
22    the triage that the nurse did?                      22   about an inpatient.
23    A.      What do you mean by interview?              23   BY MR. WILHELM:
24    Q.      Well, speak with the patient.               24   Q.      Okay.
25    A.      Well, I would speak to the patient when     25   A.      If it was an outpatient, same thing.

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                                                  Page 98                                                 Page 100
 1     and how you're assigned a procedure.                  1   Q.      Would this be accurate: If you got
 2           I guess what I'm asking is: Have you            2   assigned to do a thoracentesis on Jane Doe one
 3     done procedures where Dr. Hoffman is the              3   day, like, tomorrow and then you did your note,
 4     attending physician who ordered a procedure?          4   you wouldn't -- you wouldn't know necessarily
 5     A.      No. Dr. Hoffman wouldn't order -- we          5   who the radiologist is that's cosigning?
 6     don't order the procedures within our                 6   A.      No. I assign my cosigner.
 7     department. I'm not understanding your -- your        7   Q.      How do you assign your cosigner?
 8     question or what you're trying to ask me.             8   A.      Through Epic, when I place my progress
 9     Q.      Okay. That's fine.                            9   or procedure note or, as I mentioned earlier, an
10           Dr. Hoffman's an interventional                10   order, I assign a cosigner.
11     radiologist, correct?                                11   Q.      Explain that to me. How do you get to
12     A.      Uh-huh.                                      12   assign a cosigner? Do you just get to pick?
13     Q.      Yes?                                         13   A.      I pick the physician who's, you know,
14     A.      Yes. Sorry.                                  14   in direct supervision of me for performing that
15     Q.      Who's ordering the procedures that           15   procedure. So if Dr. Hoffman is the
16     you're doing? You just said Dr. Hoffman              16   interventional radiologist present and assigned
17     wouldn't order a procedure. Who's ordering the       17   that we're working with at Lehigh
18     procedure that you're doing?                         18   Valley-Muhlenberg, let's say for example, then
19     A.      A member of the care team of the             19   any procedures myself or another physician
20     patient.                                             20   assistant working in the department that day, he
21     Q.      Is Dr. Hoffman a member of the care          21   is the supervising physician for the procedure.
22     team of patients that you've worked on?              22   Q.      That's my bad. I guess I didn't
23     A.      Not these patients, no.                      23   understand that.
24     Q.      I guess I'm -- forgive me. I'm just          24   A.      Okay.
25     not understanding.                                   25   Q.      So if you go in to work tomorrow,
                                                  Page 99                                                 Page 101
 1           If you both work for Medical Imaging            1   there's going to be an interventional
 2    and he's a radiologist there and you're                2   radiologist physician working?
 3    a PA there and based -- for instance, in               3   A.      Present in the department, yes.
 4    Mrs. Raymond's case, Dr. Hoffman was involved in       4   Q.      And that's who you would assign your
 5    her care, and he cosigned the thoracentesis            5   procedure that you do tomorrow to?
 6    report?                                                6   A.      Correct.
 7    A.      Uh-huh.                                        7   Q.      Okay. Thank you.
 8    Q.      So --                                          8         MR. WILHELM: This would probably be a
 9    A.      Yes.                                           9   good point for 5 or 10 minutes. I'm going to
10    Q.      -- have you had experience with -- so         10   get into Mrs. Raymond specifically.
11    that's a patient, Diane Raymond, that you did a       11         (Short recess was taken.)
12    procedure on that Dr. Hoffman then cosigned,          12   BY MR. WILHELM:
13    okay, the procedure.                                  13   Q.      Mrs. Lieberman, do you know who Diane
14           Can you give me an idea of how many            14   Raymond is?
15    other patients you did a procedure on -- a            15   A.      Yes.
16    thoracentesis on where Dr. Hoffman was a              16   Q.      How?
17    cosigner? Maybe that's a better question.             17   A.      She was a patient I performed a
18    A.      Oh, okay. I couldn't give a number. I         18   thoracentesis on.
19    don't know the answer to that. There's multiple       19   Q.      When did you perform that thoracentesis
20    interventional radiologists that we work with         20   on her?
21    that I would assign -- that would be a cosigner       21   A.      March 8th, 2018.
22    to my procedures or supervising me.                   22   Q.      Do you know who Jack Raymond is?
23    Q.      Okay.                                         23   A.      I now know that's the name of her
24    A.      I don't know how many Dr. Hoffman has         24   husband.
25    been involved with or cosigned for me.                25   Q.      To your recollection, have you ever met

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                                                 Page 102                                                    Page 104
 1    Mr. Raymond?                                           1   at the present time.
 2    A.      No, I have not.                                2   A.      Oh. I don't -- I don't recall the
 3    Q.      Do you know if you provided any care           3   exact -- I think it was just a few days before.
 4    to -- or treatment or procedure to Mrs. Raymond        4   Q.      Before you went in to do the procedure,
 5    prior to March 8 of 2018?                              5   you described right-sided therapeutic pleural
 6    A.      I did not.                                     6   effusion. Did you have any details about why
 7    Q.      Can you explain to me how it came about        7   you were going to be doing this?
 8    that you were to perform -- oh, strike that.           8   A.      At the time, I was aware that the
 9           Did you do anything with Mrs. Raymond           9   patient had a history of ventilator-dependent
10    other than a thoracentesis?                           10   respiratory failure, and the therapeutic
11    A.      No, I did not.                                11   thoracentesis was being ordered in hopes of
12    Q.      Can you explain to me how that was            12   improving her breathing and oxygenation and
13    assigned to you that day?                             13   hopeful weaning of her from the ventilator.
14    A.      To the best of my recollection,               14   Q.      That information you obtained from
15    Mrs. Raymond was a patient of the Good Shepherd       15   looking at her chart or speaking with people?
16    Specialty Hospital, and an order was placed for       16   A.      No. I don't have access to the Good
17    her to undergo a right-sided therapeutic              17   Shepherd Specialty Hospital charting.
18    thoracentesis.                                        18   Q.      Okay.
19           And consent was obtained for that              19   A.      That information would have been
20    procedure by my co-worker. Carin Minchew is           20   obtained when the triage nurse, the nurse I
21    another physician assistant in our department.        21   would be working with in the holding area in
22    She obtained witnessed phone consent from the         22   interventional radiology, would have spoken on
23    patient's husband.                                    23   the phone with the patient's nurse to confirm
24           And when the patient became available          24   the patient was stable for the -- stable for the
25    to come down to the interventional radiology          25   procedure; if the patient was consentable; if
                                                 Page 103                                                    Page 105
 1    department at Muhlenberg for the procedure,            1   not, who we'd obtain consent from.
 2    Carin was unavailable to perform the procedure,        2         The only way we would obtain any
 3    so I was asked to perform her thoracentesis.           3   clinical history on a patient from Good Shepherd
 4    Q.     Do you recall who asked you to perform          4   would be if the patient's nurse related to
 5    because Carin was not available?                       5   either me directly or the triage nurse I was
 6    A.     I don't -- I don't recall specifically.         6   working with that day.
 7    It would have been one of the nurses or                7   Q.      Okay. So I'm going to ask you for a
 8    interventional radiology technicians asking if I       8   moment to accept my representation that I
 9    was available.                                         9   believe this procedure started around 9:30 a.m.
10    Q.     Prior to that, being asked to perform          10   So do you have any independent recollection of
11    or directed, however you want to say it, the          11   that?
12    procedure, did you know anything at all about         12   A.      An independent recollection of the
13    Mrs. Raymond?                                         13   exact time, no.
14    A.     No.                                            14   Q.      So please accept my representation for
15    Q.     So when you were assigned a task, you          15   purposes of this question. Do you know what
16    knew you were going to do the task, can you tell      16   time you started work that day?
17    me what you did before you actually performed         17   A.      Approximately 8:00.
18    the thoracentesis?                                    18   Q.      And do you know if you did any
19    A.     I reviewed -- excuse me. I reviewed            19   procedures before Mrs. Raymond's which, again,
20    her chest imaging, her recent chest imaging.          20   started around 9:30?
21    Q.     Do you know when that chest imaging was        21   A.      I don't specifically remember, but it's
22    from in relation to March 8th, 2018?                  22   likely that I did.
23    A.     I'd have to look at the document to            23   Q.      Okay. And if you had, you would have
24    confirm the date. Should I do that?                   24   put -- that would be documented somewhere in the
25    Q.     No. I'm just asking you if you recall          25   Epic system you believe?

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                   EXHIBIT "B"
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                                                     Page 14                                                       Page 16
 1    type of periodic basis?                                   1                  BLS is basic life support. That is
 2    A.       Every two years.                                 2   maintained and you have to retake every two years.
 3    Q.       And generally, what do you need to do to         3                  ACLS is advanced cardiac life
 4    renew that?                                               4   support, which is also maintained and recertified
 5    A.       Comply with the continuing education             5   every two years.
 6    requirements, pay the necessary fees and the mandated     6                  ATLS is advanced trauma life
 7    training that we have to do, child abuse, opioid.         7   support.
 8    Q.       So basically there's three components,           8                  And FCCS is a fellow of critical
 9    pay the fee, get your CMEs and do whatever mandatory      9   care -- I'm not sure what the S is, to be honest. It
10    training the Commonwealth requires?                      10   is a critical care course that you have to take.
11    A.       Yes.                                            11   Q.         The ATLS, is that required to be renewed
12    Q.       Is that a fair summary?                         12   or is that as part of your license?
13    A.       Yeah.                                           13   A.         It's not required for my license, no.
14    Q.       I don't want to put words in your mouth,        14   That was a certification that I obtained from my
15    if not you tell me?                                      15   previous employment, which is not required to be --
16    A.       Yeah, I mean, they give us the list. I          16   maintained through this current employment, so I
17    do what the list says. I'm pretty sure those are the     17   haven't taken the class recently again.
18    main components.                                         18   Q.         Okay. So who is your employer right now?
19    Q.       And on those two-year renewals, again,          19   A.         MILV.
20    you have done everything you needed to do to             20   Q.         So according to your CV you -- can you
21    continually have that license, correct?                  21   tell me where you -- you have two experiences written
22    A.       Yes.                                            22   here, physician assistant interventional radiology,
23    Q.       Every once in a while, we are not just          23   physician assistant trauma and general surgery.
24    hearing you.                                             24                  Do you see that?
25                Are you a member of any                      25   A.         Um-hum.
                                                     Page 15                                                       Page 17
 1    professional affiliations or groups?                      1   Q.        Were they -- are they for the same
 2    A.        The Pennsylvania Society of Physician           2   employer? Can you explain that? Let me ask a better
 3    Assistants.                                               3   question.
 4    Q.        Okay. And how long have you been part of        4                You're employed by MILV now. How
 5    that?                                                     5   long have you been employed by MILV?
 6    A.        Probably since 2012.                            6   A.        July 2017.
 7    Q.        Okay.                                           7   Q.        Let's go to the other one, the physician
 8                (Exhibit Number 1 was marked for              8   assistant, Allentown and East Stroudsburg, who was
 9    identification.)                                          9   your employer then?
10    BY MR. WILHELM:                                          10   A.        Lehigh Valley Physician's Group.
11    Q.        Your CV that you provided or your counsel      11   Q.        Okay. And then the list of your job
12    provided me yesterday, I marked as Exhibit 1 and sent    12   duties under -- or your experience under that at
13    back. Is that an accurate representation currently       13   LVPG, is that an accurate summary of what you did?
14    of your education, training and experience?              14   A.        Yes.
15    A.        Yes.                                           15   Q.        So there was some overlap at working at
16    Q.        Are there any changes that you need to         16   LVPG and MILV?
17    make to that?                                            17   A.        Yeah. I maintained my privileges at
18    A.        No.                                            18   Pocono and did a little bit of per diem work for them
19    Q.        At the bottom, there's certifications          19   after taking the job with MILV.
20    listed. Can you just explain to me what those five       20   Q.        Okay. So when you were at LVPG you write
21    certifications are?                                      21   trauma and general surgery, and then for MILV it says
22    A.        So the NCCPA Board certification is the        22   interventional radiology, correct? So your focus now
23    passing of the board tests that we have to take and      23   is interventional radiology, right?
24    maintain, so I have done that and recertified since      24   A.        Yes.
25    graduating from PA school.                               25   Q.        So you -- do you receive your paychecks

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                                                      Page 18                                                       Page 20
 1    from MILV?                                                 1   Q.        So I've asked a lot of questions of Ms.
 2    A.        Yes.                                             2   Lieberman and Dr. Hoffman, so I have a good idea and
 3    Q.        So give me -- your job title then is             3   I will not rehash that stuff. So I am clear, you go
 4    physician's assistant, correct?                            4   in and there's a list of assignments for physician
 5    A.        Yes.                                             5   assistants. And then if you are the only one
 6    Q.        Do you have a regular schedule -- work           6   working, you are going to do the best you can to take
 7    schedule of hours and days?                                7   them on.
 8    A.        Yes.                                             8                If there's another person, you may
 9    Q.        And what is that?                                9   discuss -- another physician assistant, you may
10    A.        Monday through Friday, typically                10   discuss who is going to do what?
11    approximately 7:30 to around -- somewhere between         11   A.        Yeah. And the doctor is always
12    3:30 and 4:30.                                            12   available. So, say, if his schedule or her schedule
13    Q.        Has that schedule been pretty consistent        13   is not as busy as mine, then they also can help with
14    since you started in July of 2017?                        14   the mountain of work.
15    A.        Pretty consistent. It was a little bit          15   Q.        Now, you said the nurse. So who is
16    later to start, and there's been some need to move        16   putting the assignments in, like, a nurse -- just a
17    the day earlier to accommodate patients.                  17   nurse in radiology?
18    Q.        But it's always been full-time, is that         18   A.        So there -- the outpatients are scheduled
19    correct?                                                  19   through our scheduling department. And then there's
20    A.        Yes.                                            20   a nurse assigned to my area that kind of monitors the
21    Q.        Do you have a place that you report             21   work flow. The orders for the actual procedures are
22    physically for your job?                                  22   entered by the physicians caring -- physicians,
23    A.        Yes.                                            23   NPPAs, PAs or the provider caring for the patients.
24    Q.        Where is that?                                  24   Q.        Okay. So on any given day, would it be
25    A.        At Lehigh Valley Muhlenberg primarily.          25   accurate to say you don't know, for certain, when you
                                                      Page 19                                                       Page 21
 1    Q.       Do you go to other places, too?                   1   wake up in the morning how many assignments you are
 2    A.       Initially, I was going to Cedar Crest;            2   going to have or how many patients you will address
 3    but for the past, probably almost three years, it's        3   or how many procedures you will do, is that correct?
 4    been exclusively at Muhlenberg.                            4   A.        Yeah, that would be accurate.
 5    Q.       Okay. So tell me what your -- this is             5   Q.        Again not a great word, but on a typical
 6    not a good word, but tell me what your typical day is      6   day, about how many procedures might you do?
 7    like.                                                      7   A.        On average, I probably have between 13
 8    A.       So I get in around 7:30 or so. Log in to          8   and 15 patient contacts a day.
 9    the computer. Have a discussion with -- look at the        9   Q.        What is a patient contact?
10    schedule of prescheduled patients, and then typically     10   A.        So that would be either a procedure that
11    would have a discussion with the nurse assigned to        11   we do or being involved, either seeing one of the
12    the area for the day about any in-house or Good           12   more complicated patients postoperatively or managing
13    Shepherd patient add-ons that need to be                  13   patients postprocedure that some of the physicians
14    accommodated.                                             14   do.
15                And then we go about tackling the             15   Q.        Now, on your CV you listed some of your,
16    load of work. If I have another PA working with me        16   again, typical procedures that you do. Is that a
17    that day, which is one to two days a week, we would       17   fair representation of what you do, the procedures
18    have a discussion conferring, kind of, how we will go     18   that you do?
19    about splitting the responsibilities for the day.         19   A.        Yes.
20    Q.       Is it accurate to say that there's always        20   Q.        Do you do any assisting of physicians of
21    a physician there though when you are working?            21   procedures?
22    A.       There's always a physician in-house when         22   A.        Not typically.
23    we are working.                                           23   Q.        Okay. On your CV you also wrote, on the
24    Q.       In the IR department?                            24   last bullet point, participate in departmental
25    A.       Yes.                                             25   development meetings. What does that mean?

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                                                       Page 46                                                       Page 48
 1    A.        Yes.                                              1   switched to Amanda doing it?
 2    Q.        Okay. The Good Shepherd nurse, do you             2   A.        We didn't specifically divide up any one
 3    have any recollection of what this nurse looked like?       3   specific case. It kind of is a little bit how it
 4    A.        No.                                               4   comes.
 5    Q.        Before the procedure started, did you             5   Q.        But my question is, do you recall what I
 6    speak with Dr. Hoffman about Ms. Raymond at all?            6   just said, any discussion about -- I am going to do
 7    A.        No, not that I recall.                            7   this patient, Ms. Raymond, and then that changing?
 8    Q.        Do you know if you spoke with Carol               8   A.        No.
 9    Rotman, a nurse practitioner, prior to the procedure?       9   Q.        So as far as you knew, you never were --
10    A.        I don't believe so.                              10   you had never planned to do Ms. Raymond's procedure?
11    Q.        Do you recall if you spoke with a                11                MS. SHANNON: Object to the form.
12    Dr. Stroble that morning, prior to the procedure?          12   BY MR. WILHELM:
13    A.        I don't believe so.                              13   Q.        Let me rephrase that question.
14    Q.        If you had spoken with anybody that              14                In Ms. Lieberman's deposition, she
15    morning, any other healthcare professional that            15   testified to the effect that you were not available
16    morning prior to the procedure, do you believe you         16   so she did the procedure. So do you know, at any
17    would have documented that?                                17   point were you planning on doing the procedure?
18                 MS. SHANNON: Object to the form,              18   A.        If I had been available I could have done
19    but you can answer.                                        19   the procedure.
20    A.        Not if it wasn't pertinent to her care.          20   Q.        Is there any reason that you are aware of
21    So if it was simply a conversation asking about the        21   that you would not have done the procedure other than
22    time of the thoracentesis, I would not have                22   availability?
23    documented that.                                           23   A.        No.
24    Q.        But you do recall speaking generally with        24   Q.        So on your exhibits, if you can go to
25    Ms. Lieberman about what, who was going to do the          25   Exhibit 2.
                                                       Page 47                                                       Page 49
 1    procedure?                                                  1                (Exhibit Number 2 was marked for
 2    A.        Just the list of the day. So we keep one          2   identification.)
 3    patient list for the day that we work off of.               3   BY MR. WILHELM:
 4    Q.        So typically tell me how that works. I            4   Q.        Do you have that?
 5    mean, is it a running list and there's 20, and you          5   A.        Yes.
 6    guys just go right down the list as you're available?       6   Q.        And it's two pages. Do you see that?
 7    Like, tell me how that works.                               7   A.        Yep.
 8    A.        So we have a list of scheduled                    8   Q.        Have you seen this two-page document
 9    outpatients that have specific times to come in. And        9   before?
10    then as patients are added on or orders are put in         10   A.        Yes.
11    the computer, what we call add-ons, then they get          11   Q.        And when did you -- when have you seen
12    added to the list and we approach them in the most         12   this document before?
13    reasonable way possible, depending on timing or            13   A.        I saw it when I filled it out and in the
14    necessity of a procedure being done ahead of one           14   deposition premeeting that I had.
15    another -- another one.                                    15   Q.        You filled this out on March 8th, 2018,
16    Q.        Understood.                                      16   correct?
17                 Were you -- did you ever have any             17   A.        Yes.
18    intention or plan to perform Ms. Raymond's                 18   Q.        At any time between March 8, 2018 and any
19    thoracentesis that morning?                                19   time between then and meeting with your attorneys --
20    A.        I would have been available to do the            20   and don't tell me anything about when you met with
21    procedure. It's just as likely that I would have           21   your attorneys or what you discussed -- did you ever
22    done it as Amanda.                                         22   see this or look at this form again?
23    Q.        Okay. More specific question, do you             23   A.        No.
24    have any recollection that you were going to do the        24   Q.        Is this a form -- a preprinted form, a
25    procedure and then, for whatever reason, it was            25   hospital form?

                                                                                                     13 (Pages 46 - 49)
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                                                      Page 50                                                        Page 52
 1    A.       Yes.                                              1   Valley Hospital. May I please speak with Jack
 2    Q.       Can you tell me what it is?                       2   Raymond. Confirm that that was who I am speaking to.
 3    A.       It's a procedural consent for a                   3               I'm calling regarding Diane
 4    thoracentesis.                                             4   Raymond. I've been asked to do a procedure called a
 5    Q.       Is that your signature on the second              5   thoracentesis on her. That means to drain fluid from
 6    page?                                                      6   around her lung. What that entails is that she would
 7    A.       Yes.                                              7   come down to the radiology department. We will
 8    Q.       And above that, is that Brandy Millan's           8   position her appropriately. Take a look at her back
 9    signature?                                                 9   with an ultrasound machine.
10    A.       Yes.                                             10               If we find fluid, make a small
11    Q.       Did you sign that signature -- did you           11   mark, clean her up, numb her up, and advance a needle
12    sign this on March 8th at approximately 8:10 a.m.?        12   in between her ribs, into that fluid, draining out as
13    A.       Yes.                                             13   much as we can sending any testing that the doctors
14    Q.       Did Ms. Millan sign it at about the same         14   have ordered.
15    time?                                                     15               All procedures carry risk. I have
16    A.       Yes.                                             16   to tell you about the risks of the procedure. Risks
17    Q.       And then is that your handwriting above          17   are bleeding, infection, that goes with any time that
18    Ms. Millan's signature where it says, Jack Raymond,       18   needles go under the skin. There are blood vessels
19    husband, via phone?                                       19   that run along the ribs. They should be protected;
20    A.       Yes.                                             20   but if anatomy is unusual, we wouldn't be able to see
21    Q.       Did you insert those words?                      21   that. There is a chance that they can become
22    A.       Yes.                                             22   inadvertently injured.
23    Q.       At about 8:10 a.m.?                              23               There is also a chance of something
24    A.       Yes.                                             24   called a pneumothorax, which is air getting trapped
25    Q.       Back to the first page where you and             25   outside the lung. If she were to suffer
                                                      Page 51                                                        Page 53
 1    Hoffman and Lieberman are listed, is that in your          1   complications, she could have to undergo additional
 2    handwriting?                                               2   procedures to repair anything that would become
 3    A.        Yes.                                             3   inadvertently injured.
 4    Q.        And the next paragraph or the box for the        4   Q.        What you just recited, is that what you
 5    right is checked, is that your --                          5   believe you said to Mr. Raymond?
 6    A.        Yes.                                             6   A.        That is my typical consent for a
 7    Q.        That's your check?                               7   thoracentesis. I would then offer the person
 8    A.        That's my check.                                 8   opportunity to ask any questions about the procedure
 9    Q.        So you're the only one that filled this          9   itself. Knowing that Amanda was there that day, I
10    form out, correct?                                        10   would make the patient representative aware that it
11    A.        Other than Brandy signing, yes.                 11   would be myself or one of my partners doing the
12    Q.        Correct.                                        12   procedure, depending on availability. And that's
13    A.        I believe she wrote Diane Raymond on the        13   kind of my consent process.
14    top of the first page, as well. That's not my             14   Q.        Okay. And I appreciate that detailed
15    handwriting.                                              15   process.
16    Q.        Thank you.                                      16                My question though is, you said
17                 Tell me what you did, as best you            17   that's typically what you would do for a
18    recall, to obtain this consent.                           18   thoracentesis --
19    A.        I don't specifically have any                   19   A.        Yes.
20    recollection of obtaining this consent. But my            20   Q.        -- consent.
21    practice would be, if we determined that phone            21                Do you believe that's what you did
22    consent is necessary, to call the patient                 22   with Raymond?
23    representative listed in the chart.                       23   A.        Yes.
24                 I would call and introduce myself.           24   Q.        Did you write down anything about the
25    My name is Carin, I'm a physician assistant at Lehigh     25   consent, other than what is in Exhibit 2?

                                                                                                    14 (Pages 50 - 53)
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                                                       Page 62                                                       Page 64
 1    thoracentesis, so it's not applicable.                1         procedure for Ms. Raymond?
 2    Q.       Well, under there it says these              2         A.       No.
 3    procedures may involve the use of x-rays, right?      3         Q.       Why did you not attempt to obtain consent
 4    A.       We don't use x-ray for a thoracentesis.      4         from Mrs. Raymond?
 5    Q.       Okay.                                        5         A.       It was communicated to me that -- by the
 6    A.       It says, if my procedure requires            6         nursing staff that she was not able to give her own
 7    radiation. It doesn't.                                7         consent.
 8    Q.       How about the next paragraph, consent for 8            Q.       Okay. Do you know who specifically
 9    blood and blood products?                             9         communicated that to you?
10    A.       We did not discuss that, as I did not       10         A.       I specifically don't recall the
11    intend to give her any blood products as a result of 11         conversation. It was probably Brandy, since she was
12    the procedure.                                       12         the person assigned to the area that day.
13    Q.       It is not you that didn't intend, you       13         Q.       As of 8:10 a.m. that morning, you had not
14    weren't going to do the procedure, right?            14         physically observed Mrs. Raymond, is that correct?
15                 MS. SHANNON: Objection to the           15         A.       Correct.
16    form.                                                16         Q.       Did you see Mrs. Raymond physically,
17                 MR. WILHELM: She said, I didn't         17         after you obtained consent up until the time the
18    intend to use blood products.                        18         procedure started?
19    A.       Blood products are not part of a            19         A.       No.
20    thoracentesis.                                       20         Q.       Do you know what time the procedure
21    Q.       Okay. How about the next paragraph          21         started?
22    regarding tissue and organs and body parts?          22         A.       I believe around 9:30, you told me
23    A.       Again, not applicable.                      23         earlier.
24    Q.       So you don't believe you mentioned that? 24            Q.       Other than what I told you, do you know
25    A.       No.                                         25         when the procedure started?
                                                       Page 63                                                       Page 65
 1    Q.       What about the next part about medical             1   A.       Not specifically.
 2    research?                                                   2   Q.       Besides Brandy Millan, was there
 3    A.       Again, not -- we don't -- there's no               3   anybody -- and you, was there anybody else involved
 4    research involved.                                          4   in obtaining Mr. Raymond's consent, to your
 5    Q.       Okay. And how about the HIV testing?               5   knowledge?
 6    A.       Did not discuss that.                              6   A.       Not to my knowledge.
 7    Q.       Okay. So no reason to believe you                  7                (Exhibit Number 3 was marked for
 8    discussed anything from -- on this first half of this       8   identification.)
 9    page?                                                       9   BY MR. WILHELM:
10    A.       Correct.                                          10   Q.       Let's go to Exhibit 3, please. Do you
11    Q.       Now, signatures, did you discuss with him         11   know what Exhibit 3 is?
12    about signing this at all or that -- or whether he         12   A.       Yes.
13    had an opportunity to come in and sign it at a later       13   Q.       What is it?
14    time? Was there any discussion about him putting a         14   A.       It's a progress note that I wrote on
15    signature on this?                                         15   March 8th.
16    A.       Not specifically that I recall.                   16   Q.       Have you seen this progress note
17    Q.       Okay.                                             17   previously?
18    A.       But he would have been asked to give              18   A.       Yes.
19    consent over the phone.                                    19   Q.       And when have you seen it?
20    Q.       And do you recall that he actually gave           20   A.       I seen it today, when I wrote it and the
21    the consent?                                               21   pre -- with my counsel, prior to this meeting.
22    A.       I don't recall having the conversation,           22   Q.       So any time between March 8th, 2018, when
23    but I wouldn't have written it down if he didn't.          23   you wrote it, and before meeting with your attorneys
24    Q.       Okay. To your knowledge, are there any            24   at any time, did you see the progress note?
25    other consent documents related to this specific           25   A.       I don't believe so.

                                                                                                     17 (Pages 62 - 65)
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                   EXHIBIT "C"
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       LEHIGH VALLEY    went
      ALLENTOWN.PA                                                                      1111111131111.0111111 ii 1I
                                                                                                                         SEX:f
      LEHIGH VALLEY HOSPiTAL     - IAUHLENBEHG       II                                 RAYIVIOND;01ANE
      BEINLEHEM, PA
                                                                                        WHIN:          CSN    :.
                                                                                                                                     HERE
                                                                                        DOB:           (76, Yr0
                     RADIOLOGY
                                                                                                  CHART/FORM LABEL
       CONSENT FOR SURGERY I 11ASIVE PROCEDURE
    IPATIENT
                                                                                    I   WO'                            TIME
                                                                                                                                                     M/PM

       Agree tC0.1Sern)1.0 Dr.   i4SRON44:5011MhttieL                           1.¡Atret rYvitM"'I                 and skilled assistants, including resident
     tioctors and/or doctor assistants to.d0 AO*
     thortteentesii


                I understMtd that the pmedure is to be perliortned at a teaching hospital and
                                                                                              May         involve msident doctOrs, medical students and
                Odter students. ai4providep.undcr the direction of my. ,doetor.
     The abEnt acatmerestogery:
     Pleural 'fluid
                                           j right   D    left (ifit applies) will be done for the e       and diagnosis of:



        doctor(s) may need io do Otherprocedures daring this $urgetY
                                                                          or treatment. This could happen &they find annnexpected
     conditien. If my dottor(s) feel this is needed, I agree to thest"addedprOtedures.
     Sedktion.and:AtieStliesia
     I have been told that pain dtiring my procedure will be kept-under cputml by
                                                                                    the use ofinedications, including local Ernest,
    .intravetinus Sedating 'medications or drugs to put-me in sleep (general anesthesia).                                          heties,

            Iunderstand during certain procedures my physician will give me Medicines for pain
                                                                                                and Thal Will be awake for the procedure:
            Ifurther understand that in some..Inatantma:during My procedure My physitian may.
                                                                                              determine help from an anesthesta provider is
            needeci I give permiSSiOn for this Care.
           I    understand that the anesthesia used to sedate me or put hie to sleep during surgery
                                                                                                    (general anesthesia) is not under the control
           of my Surgeon-
       *   I Willtalk With the anesthesiologist about the fiSks and benefits of the specific anesthesia
                                                                                                        that Will be used.
    I understand the pi:fume Of the
                                     proCedure/singery and my need for treatment I know the practice of medicine and
    exact science. I know that no promises have been made about the outcome ofthis.                                        surgery is not an
                                                                                          procediweistagery.
    Risks
    The following geneml risks with this procedure/surgery have been explained to me. These
                                                                                            risks include but are not limited to
       1. hifeOion
       2, bleeding
       3. injtir surtounding stntchires                                                                                         1
                                                                                                               EXHIBIT
       4. death


    Additional Risks
     understand the additional risks and results for this procedure/surgery may inclUde:
    Pain, pneurnothortoi (collapse     1       f                Lei tube Ice       . Al ission o                   _




 Benefits
 The following benefits for titis procedure/surgery have been explained to nie. These benefits
                                                                                               include but are not limited to
 To remove fluid from chest (around tuna.



Other Options (alternatives)
1   have been told about other treatment choices. These include, but are not limited to:



MRD-RAD-12 Rev           12115                                           SIDE   I       OF 2
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          HIGH    yaw HOSPITAL                                                                        111111111111111111111 Ii
        Al.LBITOWN, PA
                                                                                                                                                 SEX:F
        LEHIGH VALLEY HOSPITAL- MUHLENBERG                                                             FIAYMOND,DIANE
        BETHLESEM,    PA.
                                                                                                       1VIRN:                   CSN:                          ?E
                                                                                                       DOE:                    76   yrs)
                                       RADIOLOGY
                                                                                                                    CHAft:TFpRtvl Lik.E1kt
         CONSENT FOR SURGERY I INVASIVE PROCEDURE
    If my procedure reqUires Radiattont
          These procedures May involve the use of S-rays..thie to the occasional prolonged nature of some of these proecttires; there is
          a possibility of skin reactions in the area receiving the a-tays. These reactions are usually temporary and may cause reddening
          of the Skin or hair Iota. These reactions are often delayed and May 1161 occur until two to four weeks following your procedure.
    Consent for Blood and Blood Products
     understand that blood and/or blood products may        given during this procedure. My doctor has explained to me :
          The ffiassiblebettefiTS of receiving blood and blood products.
              The risks of receiving bleed and/Or blood products.
              Theo:implications of receiving blood and/or blend products.
    Content for Use Or TISSoet              attd BOY Parts.
    Iask and agree that the hospital dispose of/ get rid ofany body tissues Or parts which may be removed during my procedure. I understand
    that any body tissues or parts surgically removed May be tested And kept by the hospital for medical, scientific, or teaching purpose and
    may be dispriied of as stated by law., regalation andier normal practice.
    COosent to Take Part hi Medical Research, Study or Education Related TO My Cire
         I agree (consent) to the possible photographing and/or televising of-the procedure to he performed provided that my identity is

         nut revealed by-the pietures or WOWS.
              I   waive (give up) my right to inspect and/or approve the finished product and its specific use,
                know that Lehigh Valley Hospital and Lehigh Valley tioSpital Muhlenberg are teaching hospitals To advance medical
              education, I also agree to allow observers, technical representatives and participants in the operating room. I also understand
              that] may have a phySical exam for educational re4sorts-
 Consent for HIV testing
    If any healthcare provider is exposed to my blood, I agree (consent) in advance to the taking oí blood samples for 111V testing
    prior to, durin or after the course of my procedure. I have been given the Option to opt out of tint testing. If decline testing, this               I


           sectiOn will not be checked.
 Signatures
 I understand that I may withdraw my permission (consent) for this procedure/surgery at any time before it is performed. My signature

 below means that:
        I have read and understand this consent form.
        I have been given all the information  asked for about the procedure/surg,ery, the risks and other options.
                                                                T


        All my questions were answered.
        I agree to everything explained above.




                         MOYNsi.         IV3kRIoNSA)                      \Ara        5;?\NSTrvq.
         Rent Signature (or authorized ReptastatittIve)                                                                             Date                     Tinte

                                      a?,                                                                                                    (Yer f
          t es!   1SigIIitUIt (Ittipiirid it patient or author:tied reprFsenitilive is unable to sigs or signs wi   a nUirki        Date                     Time

I       have discussed the procedure with the patient or the patient's authorized representative and have answered all questions asked.

(04L1,.?-1%)                            PAC--                                                                                        31% t                     c:::Fe'Lcz)
Provider Signalure                                                                                                                  Date     ,               Time

If it applies, the above information was translated and/or the consent was read                              in                                                      language by
                                                                                            .(Print Interpreter Name).

 Interpreter's Signature (Wit applics):                                                                                             Date                     Time

lvIRD-RAD-12 Rev 12/15                                                                 SIDE 2 OF 2
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                   EXHIBIT "D"
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                                                 Page 10                                                   Page 12
 1     Q.      Where do you live?                           1   A.     I attended Northampton Community
 2     A.      Easton, Pennsylvania.                        2   College where I received my associate's degree
 3     Q.      What's your address?                         3   in nursing.
 4     A.      My billing address and my mailing            4   Q.     What year was that?
 5     address is                                           5   A.     I went back -- oh, I can't remember the
 6     Pennsylvania, 18042.                                 6   year I went back, but I graduated in December of
 7     Q.      Thank you.                                   7   2004.
 8           And your date of birth, please?                8   Q.     It appears to me you obtained your
 9     A.                                                   9   nursing license in 2005 in Pennsylvania. Is
10     Q.      Did you go to high school?                  10   that accurate?
11     A.      I did.                                      11   A.     Correct.
12     Q.      Where did you attend and when did you       12   Q.     So just generally, what did you do
13     graduate?                                           13   between '94 and when you attended nursing
14     A.      I attended Easton Area High School and      14   school? What kind of work did you do?
15     graduated in June of 1991.                          15   A.     I worked in children's mental health
16     Q.      Have you ever been adjudicated a            16   for approximately 10 years. I had a position as
17     delinquent?                                         17   a TSS or therapeutic support staff with
18     A.      No.                                         18   the IU 21. And then I was employed with
19     Q.      Have you ever been arrested as an adult     19   KidsPeace for almost 7 years.
20     for a criminal offense?                             20         And when I left there in May of '90 --
21     A.      Never.                                      21   no. I started -- I left there May of 2004.
22     Q.      Do you have a driver's license?             22   That's when I started working here. It's been
23     A.      I do.                                       23   so long, so I'm, like, trying to get all my
24     Q.      In Pennsylvania?                            24   dates --
25     A.      Yes.                                        25   Q.     That's okay.
                                                 Page 11                                                   Page 13
 1     Q.     Has that driver's license ever been           1   A.     -- together. So, yes, June of 2004 is
 2     suspended or revoked?                                2   when I started my employment with Lehigh Valley
 3     A.     Never.                                        3   Health Network.
 4     Q.     Have you had that license since               4   Q.     Okay. Great. Have you remained a
 5     approximately age 16?                                5   nurse in Pennsylvania from 2005 to the present?
 6     A.     Yes, since approximately age 16.              6   A.     Yes.
 7     Q.     And have you ever had a driver's              7   Q.     Has your nursing license ever been
 8     license in any other state?                          8   revoked or suspended?
 9     A.     I have not.                                   9   A.     Never.
10     Q.     Did you attend college?                      10   Q.     Have you met all the qualifications and
11     A.     I did.                                       11   requirements in that roughly 16-year period to
12     Q.     Where?                                       12   remain a nurse?
13     A.     My first degree I attended South             13   A.     I have.
14     Carolina State University.                          14   Q.     And have you ever had a nursing license
15     Q.     Okay. And what years did you attend          15   in any other state?
16     there?                                              16   A.     I have not.
17     A.     From August of 1991 until December of        17   Q.     So you already indicated that you
18     1994 when I graduated.                              18   started working at LVHN around 2004, is that
19     Q.     And what did you graduate with?              19   correct?
20     A.     A bachelor's of science degree in            20   A.     That's correct.
21     psychology.                                         21   Q.     And have you remained in their employ
22     Q.     Did you -- and then did you have formal      22   continuously since then?
23     education after that?                               23   A.     Yes.
24     A.     I did.                                       24   Q.     As a nurse?
25     Q.     Where?                                       25   A.     When I first started employment in

                                                                                              4 (Pages 10 - 13)
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                                                   Page 18                                                    Page 20
 1     be the exhibit, what you can tell.                     1   the pertinent parts related to a thoracentesis.
 2           THE WITNESS: So based on the                     2         After she finished reviewing everything
 3     information that I've been provided, I'm aware         3   with him, she would have handed me the
 4     that Diane Raymond was a patient in the                4   telephone. I would have got on with Mr. Raymond
 5     interventional radiology. I do see, based on           5   and asked him if he agreed to all that was
 6     the document that I have before me, that I did         6   discussed with him by Carin, did he have any
 7     witness the consent with one of my colleagues          7   further questions.
 8     with the spouse via telephone.                         8         I would have presumed he didn't have
 9           (Goodwin Exhibit 1 was marked for                9   any further questions because I signed. I
10     identification.)                                      10   wouldn't have signed without him expressing to
11     BY MR. WILHELM:                                       11   me that he was in agreement with everything that
12     Q.     And do you have a two-page document in         12   Carin reviewed with him, and then I signed my
13     front of you?                                         13   name, date, and time then.
14     A.     Yes, I do.                                     14   Q.      Do you believe that's what occurred?
15     Q.     And the document at the top left would         15   A.      I believe that's what occurred.
16     say radiology consent for surgery/invasive            16   Q.      Okay. And you believe that's what
17     procedure?                                            17   occurred because that's customarily how it's
18     A.     Yes, it does.                                  18   done based on your experience?
19     Q.     And then the patient's identified as           19   A.      Based on my experiences, yes.
20     Diane Raymond, correct?                               20   Q.      Okay. When Carin would have been
21     A.     Well, Raymond, Diane.                          21   speaking with Mr. Raymond on the telephone,
22     Q.     And on the second page, there's a place        22   would you only have been able to hear -- to hear
23     which appears as though your signature is, is         23   her side of the conversation?
24     that correct?                                         24   A.      That's correct.
25     A.     Yes.                                           25   Q.      But you would have been present during
                                                   Page 19                                                    Page 21
 1    Q.      Is that in fact your signature?                 1   the entire conversation, you believe?
 2    A.      That is my signature.                           2   A.      Yes.
 3    Q.      Did you in fact sign that on March 8th,         3   Q.      Where -- where would you and Carin have
 4    2018, at approximately 8:10 a.m.?                       4   been?
 5    A.      To the best of my recollection.                 5   A.      In the IR suite at the time, there was
 6    Q.      And whose signature is below you?               6   a desk where the staff would sit where the
 7    A.      Carin Minchew, physician assistant.             7   telephone was at, so we would have both been
 8    Q.      Do you know Carin Minchew?                      8   behind the desk. So I would have been sitting
 9    A.      I do.                                           9   very near to her so I could hear clearly
10    Q.      How do you know Carin?                         10   everything that she was reviewing so that when I
11    A.      Through employment. We worked together         11   was on the phone, I could be clear as to what
12    in the interventional radiology department.            12   she had said so if there was not any
13    Q.      Okay. So based upon this document,             13   understanding when I asked prior to me signing,
14    tell me what you recall, if anything, about your       14   that I know what she reviewed with him.
15    role in the consent here.                              15   Q.      Was Carin filling out this form when
16    A.      Based on this document, what would have        16   she was speaking with Mr. Raymond? Do you know?
17    occurred during that day is Carin would have           17   A.      I don't recall.
18    been on the telephone with the documented              18   Q.      Okay. So I asked a few moments ago if
19    spouse, Jack Raymond, reviewing the consent for        19   you signed this around 8:10. You said -- I
20    the procedure, which is noted as a right               20   think you said likely that you did. Is that
21    thoracentesis.                                         21   about the time the telephone conversation would
22          Based on the consent form, Carin would           22   have taken place?
23    have been speaking with Mr. Raymond via                23   A.      Correct.
24    telephone, and I would have been present nearby        24   Q.      So are you required to fill out the
25    listening to her review the consent form and all       25   consent form at the same time as soon as the

                                                                                                6 (Pages 18 - 21)
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                                                  Page 22                                                  Page 24
 1     the way of writings in professional literature?       1   group.
 2     A.      I don't. I'm more of a clinical               2   Q.      So Lehigh Magnetic Imaging Center is a
 3     physician.                                            3   subgroup of --
 4     Q.      Okay. So on your CV, you have some            4   A.      I don't know if I'm using the right
 5     references to writings that you did. It looks         5   terminology.
 6     like mostly in the late '90s, early 2000. Is          6          MS. SHANNON: That's okay. I just
 7     that a fair summary of your professional              7   wanted to -- he was talking and you were trying
 8     writings?                                             8   to be helpful but --
 9     A.      Yeah. I think there's -- yeah.                9          THE WITNESS: Sorry, Scott. I
10     There's kind of two kind of writings. There's,       10   apologize.
11     you know, research kind of writings and then         11          MR. WILHELM: Oh, no, no. Not
12     there's lecturing. I do occasional lectures,         12   necessary.
13     but I don't participate in research.                 13          MS. SHANNON: Sorry to Meg.
14     Q.      Okay. And do you do any teaching on          14          THE WITNESS: Oh, sorry, Meg.
15     any kind of regular basis?                           15   BY MR. WILHELM:
16     A.      Not on a regular basis. We will              16   Q.      Explain to me as best you understand.
17     occasionally have medical students rotate            17   A.      Yeah. This is like a business
18     through our department, and I do do some             18   arrangement that's out of my realm of expertise,
19     teaching to the medical students.                    19   but the magnetic imaging portion is MRI, and
20     Q.      But you're not formally an instructor        20   that's part of our private practice group, but,
21     or a professor?                                      21   in a way, it's a distinct entity.
22     A.      I am not.                                    22   Q.      Okay.
23     Q.      All right. Thank you.                        23   A.      That's the best I can describe it to
24           Again, is there anything that's not on         24   you without getting into the business details.
25     your CV that you think is relevant to your           25   Q.      So -- okay. Who is -- who is your
                                                  Page 23                                                  Page 25
 1    education, training, and experience?                   1   employer? Is it Medical Imaging or is it Lehigh
 2    A.      I don't think so.                              2   Valley Hospital?
 3    Q.      Okay. Thank you.                               3   A.     I'm an employee of Medical Imaging of
 4           So let's talk about where you work.             4   Lehigh Valley who is employed by Lehigh Valley
 5    You work for whom?                                     5   Hospital.
 6    A.      I work at Lehigh Valley Hospital. We           6   Q.     So your pay stub, it comes from -- I'm
 7    are a private practice group employed by Lehigh        7   sorry?
 8    Valley Hospital.                                       8   A.     It comes from MILV.
 9    Q.      Okay. What's the name of the private           9   Q.     Thank you.
10    practice group?                                       10         So you're an interventional
11    A.      Medical Imaging of Lehigh Valley.             11   radiologist -- radiological physician, right?
12    Q.      And then the practice group is employed       12   A.     That's correct.
13    by the hospital?                                      13   Q.     You don't identify yourself as a
14    A.      Correct.                                      14   radiologist or a diagnostic radiologist, is that
15    Q.      So what is your position? Are you a           15   correct?
16    radiologist or an interventional radiologist?         16   A.     I mean, I am a radiologist, but my
17    How are you identified?                               17   specific area of training and fellowship
18    A.      As an interventional radiologist.             18   training is interventional radiology.
19    Q.      Okay. Did you ever work for a place           19   Q.     Okay. So besides diagnostic radiology
20    called Lehigh Magnetic Imaging Center?                20   and interventional radiology, are there any
21    A.      Well, that's -- it gets kind of               21   other subsets of radiology that a physician
22    complicated. That's one of the subsets of our         22   could get into?
23    private practice group. I don't understand            23   A.     There are. There are multiple
24    necessarily how the entities -- why they differ,      24   different subspecialties.
25    but it's a subgroup of our private practice           25   Q.     Can you give me an example of a few?

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                                              Page 94                                                Page 96
 1    A.      No -- for pregnancy.                       1   many times you've done that?
 2    Q.      Okay. So have you had an opportunity       2   A.      Dozens. Again, that's a hard one to
 3    to work with Ms. Lieberman?                        3   answer. I don't know -- that's an approximate
 4    A.      Fairly extensively.                        4   but dozens.
 5    Q.      Okay. Can you explain that?                5   Q.      Have you ever actually been in the room
 6    A.      So, I mean, since she's been here since    6   and observed her perform a thoracentesis other
 7    2012, I've, you know, observed her doing           7   than anything related to Ms. Raymond?
 8    procedures. I've been her supervisor during        8   A.      Yes.
 9    procedures as it was in -- you know, like the      9   Q.      Can you give me a fair estimate there?
10    situation at Muhlenberg that particular day,      10   A.      Same.
11    and, you know, just getting to know her since     11   Q.      Besides your co-workers, do you --
12    that time, getting her reputation.                12   strike that.
13    Q.      Okay. So let's talk about her             13         A moment ago you spoke about her
14    reputation. Where have you obtained information   14   reputation based upon what you've seen and what
15    regarding her reputation?                         15   you've observed. Have you ever observed
16    A.      Anecdotally, I suppose. I mean, I know    16   anything that she's done professionally that
17    she's very, very good; I know she's very, very    17   concerned you?
18    smart, and, you know, sometimes you learn that    18         MS. SHANNON: Object to the form. Go
19    just by working with someone.                     19   ahead.
20    Q.      So you're --                              20         THE WITNESS: Absolutely not. She's
21    A.      She had extensive experience before she   21   very thorough. She's very smart. She's
22    came to us.                                       22   technically skilled. I mean, she's really one
23    Q.      So your opinion of her is based upon      23   of the best we have, if not the best.
24    what you've observed and what you heard about     24   BY MR. WILHELM:
25    her?                                              25   Q.      Have you ever heard any of your
                                              Page 95                                                Page 97
 1    A.     Correct. Yes.                               1   colleagues, other physicians, comment on her
 2    Q.     Can you give a fair estimate as to how      2   negatively, her skills or performance?
 3    many times you worked -- days you worked with      3   A.      No. I mean, everyone shares my -- my
 4    her? For instance, you work five days a week       4   view. She's -- I think we're lucky to have her.
 5    generally. Can you give me an idea of how many     5   Q.      Has your employer or the hospital ever
 6    times you worked with her?                         6   asked you to review her in any type of formal
 7    A.     Usually about once a week.                  7   manner?
 8    Q.     And has that always been the case?          8   A.      No.
 9    A.     That's pretty consistent.                   9   Q.      How about informally? Has anybody come
10    Q.     Has -- to your knowledge, has              10   and questioned you about her proficiency and
11    Ms. Lieberman ever participated in a procedure    11   competency, et cetera?
12    that you've done where you're the performing      12   A.      No.
13    physician and she's there assisting in some       13   Q.      Do you know when the last time was that
14    manner?                                           14   you worked with her prior to March 8th, 2018,
15    A.     Not to my knowledge.                       15   which, of course, is the date that's the subject
16    Q.     Would that be -- would that be unusual     16   of this case?
17    to have a physician --                            17   A.      When did I work with her prior to that
18    A.     Yes. That would be kind of unusual.        18   date?
19    We just don't have that type of arrangement or    19   Q.      Yes. Last, last prior to March 8th, do
20    necessity.                                        20   you remember?
21    Q.     Have you ever observed her perform her     21   A.      No, I actually don't. But, again, it's
22    procedures, you know, going into the room and     22   usually that once-a-week arrangement. It's
23    actually watched her?                             23   usually Thursday, so the Thursday before that
24    A.     I have.                                    24   procedure.
25    Q.     Can you give a fair estimate as to how     25   Q.      Okay.

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                                                 Page 14                                                  Page 16
 1     A.     Yes.                                          1   today?
 2     Q.     And how often do you take them?               2   A.      Correct.
 3     A.     Thirty hours for two years. We renew          3   Q.      And have you held that position then
 4     our license every two years.                         4   for the approximate 20 or 21 years?
 5     Q.     Okay. And you've renewed it every two         5   A.      Yes.
 6     years without incident, is that correct?             6   Q.      Do you work only at Muhlenberg?
 7     A.     Yes.                                          7   A.      We do rotate over to the Cedar Crest
 8     Q.     And are you a member of any                   8   site on occasion.
 9     professional organizations related to the            9   Q.      Okay. So tell me generally what your
10     nursing field?                                      10   job duties as an interventional radiologist --
11     A.     No.                                          11   and I'll say IR for shorthand, if that's okay
12     Q.     So who is your current employer?             12   with you. As an IR nurse, generally what are
13     A.     Lehigh Valley Hospital.                      13   your duties?
14     Q.     And when did you start there?                14   A.      Sedation for procedures, assist in the
15     A.     1995.                                        15   procedures with the physician or the physician
16     Q.     Okay. Have you been employed by              16   assistant, charting, monitoring -- that goes
17     anybody else in the medical field from 1995 to      17   along with the sedation -- calling report, and
18     the present other than Lehigh Valley?               18   tending to the care of the patient, addressing
19     A.     No.                                          19   any pain or basic needs --
20     Q.     What was your first position at Lehigh       20   Q.      Okay.
21     Valley?                                             21   A.      -- and emotional support as well.
22     A.     A student nurse.                             22   Q.      Okay. Do you have a current nursing
23     Q.     Okay.                                        23   supervisor?
24     A.     It was a program.                            24   A.      Yes.
25     Q.     Okay. So your pay stub, it says Lehigh       25   Q.      Okay. And who would that person be?
                                                 Page 15                                                  Page 17
 1     Valley Health Network on it or something like        1   A.     Tracie DeCrosta.
 2     that?                                                2   Q.     Can you spell the last name for the
 3     A.      Yes.                                         3   court reporter?
 4     Q.      Just give me a summary of the jobs that      4   A.     T-R-A-C-I-E, DeCrosta, D-E-C-R-O-S-T-A.
 5     you've had from the time you started there in        5   Q.     Thank you.
 6     the last 25 years.                                   6         And how long has she been your
 7     A.      A technical partner is when I was done       7   supervisor now?
 8     with school and before I was able to sit for my      8   A.     I believe since November she -- she
 9     boards. We'd take temperatures and blood             9   just kind of took over our -- our area. She
10     pressures, phlebotomy, little bit of charting --    10   currently is the manager at the Cedar Crest
11     Q.      Okay.                                       11   site.
12     A.      -- and basic needs of the patients, you     12   Q.     Okay. Do you know who your nursing
13     know, water, bedpan, help them change their         13   supervisor was back in March of 2018?
14     clothes. And then once I passed my boards,          14   A.     Dawn Kuklinski.
15     that's when I started working as an RN.             15   Q.     Could you spell that?
16     Q.      Okay. And tell me, were you assigned        16   A.     Yes, D-A-W-N, K-U-K-L-I-N-S-K-I.
17     to different areas in the hospital, different       17   Q.     Okay. So in the 20 -- approximately 20
18     departments? Kind of give me a history of that.     18   years you've been in IR, have you always been
19     A.      As a student and when I first passed my     19   employed? In other words, were you ever laid
20     boards, I worked in the emergency room.             20   off or did you ever quit or take time off?
21     Q.      Okay. And then?                             21   A.     Just for pregnancy.
22     A.      And then in 2000, the year 2000, I          22   Q.     Okay. And have you ever been suspended
23     accepted the position at Muhlenberg in              23   by the hospital in these last 20 years?
24     interventional radiology.                           24   A.     No.
25     Q.      And is that the position you hold           25   Q.     Have you ever received any formal

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                                                Page 22                                                Page 24
 1     ultrasound -- ultrasound-guided thoracentesis       1   Q.      So you acknowledge you've seen this;
 2     is?                                                 2   you just don't know when the last time you saw
 3     A.     Yes.                                         3   it is?
 4     Q.     What's your understanding of what that       4   A.      Right.
 5     is?                                                 5   Q.      Do you know who drafted this document?
 6     A.     You use the ultrasound machine as a          6   A.      No.
 7     guide to find a pocket of fluid.                    7   Q.      Did you play any role in drafting this
 8     Q.     And when you say you, who uses that          8   document?
 9     ultrasound machine? Is it the nurse or the          9   A.      No.
10     proceduralist or somebody else?                    10   Q.      Have you ever been tested on this
11     A.     The proceduralist.                          11   document?
12           (Unser Exhibit 1 was marked for              12   A.      No.
13     identification.)                                   13   Q.      To your knowledge, are you required to
14     BY MR. WILHELM:                                    14   commit this document to memory?
15     Q.     So the exhibits I sent to you, which I      15          MS. SHANNON: Object to the form.
16     believe you have in front of you --                16          MS. WEED: Yes. I'm joining in that
17     A.     Yes.                                        17   objection.
18     Q.     -- Exhibit Number 1 is three pages. Do      18          MR. WILHELM: What's the objection?
19     you have that?                                     19          MS. WEED: The term required.
20     A.     Yes.                                        20   BY MR. WILHELM:
21     Q.     Now, do you see where it says Lehigh        21   Q.      Required. Does your employer require
22     Valley Hospital Department of Ultrasound           22   you to memorize this document?
23     protocols?                                         23   A.      Memorize it?
24     A.     Yes.                                        24   Q.      Yes.
25     Q.     And then the first page is, like, a         25   A.      Do you mean word for word or --
                                                Page 23                                                Page 25
 1     table of contents. Would you agree?                 1   Q.       In any manner.
 2     A.      Yes.                                        2          MS. WEED: She's confused by the
 3     Q.      And then the next two pages are pages       3   question. I can tell.
 4     18 and 19 which address thoracentesis, correct?     4          THE WITNESS: I don't know what you
 5     A.      Yes.                                        5   mean by -- I mean, I can recall the process, but
 6     Q.      Have you seen this document -- these        6   not that I need -- I don't know. I guess I'm
 7     parts of this document previously?                  7   confused.
 8     A.      Yes.                                        8   BY MR. WILHELM:
 9     Q.      Okay. When is the last time that you        9   Q.       That's fine. Ms. Unser, if at any time
10     saw it?                                            10   you're confused, just speak up.
11     A.      I don't know. A while.                     11   A.       Okay.
12     Q.      Okay. That's fine. Do you know when        12   Q.       So what I'm asking is, are you aware --
13     is the first time you saw it?                      13   let's try it this way -- of your employer
14     A.      Probably during my training. It            14   advising you that you must commit this document
15     probably has changed since then as far as --       15   to memory?
16     probably when we got the Neptunes.                 16          MS. WEED: Objection. You can answer.
17     Q.      And what is the Neptunes?                  17          MR. WILHELM: What's the objection?
18     A.      If I can guess. If I can guess.            18          THE WITNESS: Ah, no.
19           MS. WEED: Don't guess.                       19          MR. WILHELM: Well, hold on. Okay.
20           THE WITNESS: Oh, don't guess. If I           20   BY MR. WILHELM:
21     could --                                           21   Q.       Have you -- strike that.
22     BY MR. WILHELM:                                    22          So let's go to the second page which is
23     Q.      All right.                                 23   page 18. Do you see that?
24     A.      The Neptunes are the big containers        24   A.       Yes.
25     that collect the fluid.                            25   Q.       Okay. So at the top it says,

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                                                  Page 26                                                  Page 28
 1     Thoracentesis: Suction regulator should be set        1   it to make sure that it's signed.
 2     to 100 millimeters mercury.                           2   Q.      Okay. So a consent form that's been
 3            Is that what it says?                          3   signed, where do you look for it, in the medical
 4     A.      Yes.                                          4   chart or is it with the patient when they come
 5     Q.      And what does that mean?                      5   in to the procedure or something else?
 6     A.      That's the setting on the Neptune             6   A.      It's -- it's usually -- we have the
 7     machine.                                              7   consents in our department, so it's either with
 8     Q.      Okay. Is that something that the IR           8   our paperwork at the nurse's desk.
 9     nurse is responsible for?                             9   Q.      That's typically where you find it?
10     A.      Yes.                                         10   A.      Yes.
11     Q.      Then next it has a list of supplies,         11   Q.      Okay. And the patient stickers, what's
12     and it looks like there's about 15 -- excuse me,     12   the patient stickers?
13     roughly 15. Do you see that list?                    13   A.      The patient's -- has the patient's name
14     A.      Yes.                                         14   and medical record number on it.
15     Q.      Is that your understanding -- when you       15   Q.      And then patient script, what's that?
16     say getting the tray, the supplies would be on       16   A.      Patient script -- oh, the patient
17     that tray?                                           17   script is the order for the procedure.
18     A.      Yes.                                         18   Q.      Okay. And then lab stickers, what does
19     Q.      Okay. Is that something that the IR          19   that reference?
20     nurse is responsible for?                            20   A.      Lab stickers are stickers that print
21     A.      Yes.                                         21   out from a special lab printer, and they
22     Q.      And then where, as the IR nurse, do you      22   identify the testing that was ordered.
23     get these supplies?                                  23   Q.      Okay. What's the difference between
24     A.      We have a sterile tray that has some         24   lab stickers and patient script?
25     basic supplies on it, and the rest of the            25   A.      The difference between lab stickers and
                                                  Page 27                                                  Page 29
 1     supplies we get from our clean supply room.           1   patient script, patient script is an order for
 2     Q.      Okay. Now, take a moment to look at           2   the test.
 3     this list of items and tell me if that's              3   Q.      Okay. And the lab stickers is what?
 4     consistent with your experience as to the items       4   Their lab -- the patient's lab results?
 5     that you need to get.                                 5   A.      No. If you're sending fluid for
 6     A.      Yes.                                          6   testing --
 7     Q.      Are there any items that are not on           7   Q.      Okay.
 8     that list that you -- that you retrieve for the       8   A.      -- they're -- yeah. They're like lab
 9     procedure or is that --                               9   labels, like when you go and get blood work.
10     A.      Can you repeat that? I'm sorry.              10   Q.      I gotcha. Thank you.
11     Q.      Sure. Is that a complete list based on       11          And then what's this lab -- I'm sorry.
12     your experience or are there other items that --     12   What did you say?
13     other supplies that are not on that list that        13   A.      Nothing.
14     are used in a thoracentesis?                         14   Q.      And then what's this next phrase,
15     A.      No. This is what we use.                     15   non-GYN cytology form?
16     Q.      Okay. And then the next section says         16   A.      That is a special test if you want to
17     paperwork. Do you see that?                          17   send it for -- the fluid for cytology. It's --
18     A.      Yes.                                         18   that test does not generate a lab sticker, so
19     Q.      And then it says consent form. Is it         19   you need to go into Epic, print out the order
20     the IR nurse's duty to check the consent form?       20   for the cytology, and send it with the specimen.
21     A.      Yes.                                         21   Q.      Okay. What is cytology?
22     Q.      Okay. And what do you do specifically        22   A.      Looking for cancer, cancer cells.
23     to check the consent?                                23   Q.      All right. And then the next section,
24     A.      We look to make sure that there's            24   it says Epic chart. Do you see that?
25     patient stickers on the form. We also look at        25   A.      Yes.

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 1     Q.     And then it has some entries we're             1          What does that mean?
 2     going to discuss here. Normal PT, what's that?        2   A.      The patient does not have to stop
 3     A.     Usually 2.0 and below.                         3   eating or drinking for the procedure.
 4     Q.     Strike that.                                   4   Q.      And then the next phrase, Stop blood
 5     A.     Oh, wait. That's INR. I apologize.             5   thinners, what's that phrase talking about?
 6     Q.     Hold on. I didn't ask a good question.         6   A.      There's blood thinners that sometimes
 7           What does normal PT stand for?                  7   that -- there's blood thinners that need to be
 8     A.     Normal prothrombin time.                       8   stopped -- some blood thinners that need to be
 9     Q.     Pro what?                                      9   stopped prior to having the procedure done.
10     A.     Thrombin.                                     10   Q.      Okay. Do you play any role in checking
11     Q.     Okay.                                         11   that as the nurse?
12     A.     Normal blood clotting time.                   12   A.      Yes.
13     Q.     Thank you.                                    13   Q.      Okay. And how do you check that?
14           Next, what's the PTT stand for?                14   A.      It's either in the chart -- it's in the
15     A.     I don't remember.                             15   chart asking the patient or it's a conversation
16     Q.     If you don't remember, that's fine.           16   that you have with the nurse taking care of the
17     A.     It has to do with your blood clotting         17   patient.
18     time, your prothrombin.                              18   Q.      Okay. The next section, procedure
19     Q.     And what's platelets?                         19   performed by, that's self-explanatory.
20     A.     Platelets is the level in your blood to       20          The next section, other support staff,
21     make sure that you won't bleed.                      21   do you see that?
22     Q.     Okay. And then the next entry says,           22   A.      Yes.
23     INR-according to lab value and medication            23   Q.      And then it says, Nurse to start
24     guidelines, et cetera.                               24   an IV (if necessary).
25           What's that phrase talking about?              25          What does that mean?
                                                  Page 31                                                 Page 33
 1     A.       It's your -- the international ratio,        1   A.      We sometimes put in an IV to give
 2     that is when you were on a medication that            2   replacement fluid if it's needed or if we need
 3     affects your blood clotting time. That's a            3   to draw blood work prior to the procedure, we
 4     value we look at.                                     4   would start an IV to get the blood work off.
 5     Q.       And the INR stands for international         5   Q.      And would that be an order from the
 6     ratio. Is that what you said?                         6   physician then?
 7     A.       I believe -- yes, I believe so.              7   A.      Yes.
 8     Q.       Okay. Again, answer just to the best         8   Q.      Next section, preprocedure, do you see
 9     of your knowledge. If you truly don't know,           9   that?
10     please just let me know. I don't want you to         10   A.      Yes.
11     guess. Okay?                                         11   Q.      And number 1, it says, Set up Neptune.
12            Then the last phrase there, Patient           12   Right?
13     script (order) post orders will be entered in        13   A.      Yes.
14     Epic by the radiologist/PA.                          14   Q.      And there's a reference to the Neptune
15            What's that mean?                             15   protocol. So is it accurate to say it's the IR
16     A.       Any orders after the procedure, whether     16   nurse's job to set up the Neptune?
17     it is to resume medications or an x-ray, will be     17   A.      Yes.
18     done by -- by them.                                  18   Q.      Bring the patient into the room.
19     Q.       Okay. But not by the nurse?                 19   That's the IR nurse's responsibility?
20     A.       No.                                         20   A.      Yes.
21     Q.       Okay. All right. Next section says          21   Q.      Number 3, Setting up the patient,
22     patient prep. Do you see that?                       22   that's self-explanatory.
23     A.       Yes.                                        23          Number 4 says, Go through the invasive
24     Q.       All right. It says, Patient does not        24   checklist in Epic, begin navigator.
25     need to be NPO.                                      25          What does that mean?

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 1    A.      That is the invasive checklist we go           1   yeah. Sorry.
 2    through. It documents the -- who's in the room.        2   Q.     No problem.
 3    It documents if the patient has -- is on any           3         And then next, 6, Set up sterile tray,
 4    blood thinners, that we check the medications,         4   including dropping additional supplies as
 5    that the patient hasn't eaten or drank. It's           5   needed-wearing a surgical mask.
 6    basically a checklist for all the procedures we        6         Is that the nurse's duty?
 7    do.                                                    7   A.     Yes.
 8    Q.      Okay. And then next it says, Explain           8   Q.     Okay. And then 7, Call the radiologist
 9    the procedure to the patient.                          9   and/or PA for procedure.
10          Is that the job of the IR nurse?                10         So as the -- in your experience of
11          MS. SHANNON: Object to the form.                11   doing this, do you go through this checklist or
12          THE WITNESS: Huh? Oh. We do -- we do            12   do the things that you need to do and then call
13    talk to the patient about the procedure.              13   the proceduralist in or is the proceduralist in
14    BY MR. WILHELM:                                       14   the room when you're doing the things that you
15    Q.      So do you do that in all of your              15   need to do preprocedure?
16    thoracentesis; you explain the procedure to the       16   A.     The proceduralist is usually in the
17    patient?                                              17   room.
18    A.      Yes.                                          18   Q.     Because number 5 and number 7, would
19          MS. SHANNON: Object to the form.                19   you agree -- or number 5 suggests that it's
20          MR. WILHELM: Okay. So -- okay. Now,             20   going to be done before number 7, right?
21    Laurie and Jenny, you guys can object to the          21         MS. WEED: Well, object to the form.
22    forms all you want, but you know those                22   You can answer that. That's a confusing
23    objections to form are preserved under the rules      23   question.
24    of procedure, so you don't need to. You can           24         THE WITNESS: What do you mean? The 7
25    continue to do it if you'd like, but they are         25   should be before -- what's the question?
                                                  Page 35                                                   Page 37
 1     preserved if you check the rules.                1        BY MR. WILHELM:
 2            MS. SHANNON: That was my objection to 2            Q.     Okay. So maybe you've answered.
 3     the form. I thought we had usual stipulations,   3        You're saying that the -- when you're going
 4     so I thought all objections other than form are  4        through this preprocedure, the proceduralist is
 5     preserved and form objections need to be made.   5        usually in the room?
 6     That's my understanding of usual stipulations,   6        A.     Yeah.
 7     but if you have a different understanding, we    7        Q.     Okay. All right. And then we'll go to
 8     can --                                           8        the next section where it says procedure, number
 9            MS. WEED: That's my understanding of      9        1, Ensure consent is filled out and signed after
10     the usual stipulations.                         10        the radiologist/PA explains the procedure to the
11            MR. WILHELM: All right. I understand 11            patient.
12     what you're saying now. I'm just saying under   12              Do you see that?
13     rule 30, they're -- they're automatically       13        A.     Yes.
14     preserved.                                      14        Q.     So in your experience, does the
15     BY MR. WILHELM:                                 15        proceduralist explain the procedure to the
16     Q.      All right. And then number 5, it says,  16        patient?
17     Scan patient's posterior chest and mark the     17        A.     Yes.
18     lowest rib space with the location of largest   18        Q.     Is that in addition to the explanation
19     area of fluid with marker.                      19        by the nurse which we -- which is referenced
20            Do you see that?                         20        above that we discussed?
21     A.      Yes.                                    21        A.     Yes.
22     Q.      Is that what the IR nurse does?         22        Q.     Okay. And it says, Ensure consent. Is
23     A.      No.                                     23        that the same -- you spoke a few moments earlier
24     Q.      Who does that?                          24        about the consent. Is that ensuring the consent
25     A.      The provider -- the proceduralist,      25        again? Or who is ensuring the consent there?

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                                                 Page 38                                                  Page 40
 1     A.      Let's see, it's a conversation that we       1   adaptor)/connecting tube setup.
 2     have with the proceduralist and the nurse.           2          Explain to me what all that means.
 3     Q.      Okay. Talking amongst yourselves to          3   A.       Let's see, one of the items that we
 4     confirm that somebody's -- or to make sure           4   drop onto the tray is a connector tubing and the
 5     somebody's confirmed consent?                        5   5 in 1 connector, and they put the 5 in 1
 6     A.      Yes.                                         6   connector into the end of the connecting tube.
 7     Q.      And then number 2, Perform radiology         7          And on the other side, there's a
 8     timeout in Epic.                                     8   little -- it's called a stopcock, and it has an
 9           Can you explain what that is?                  9   off-and-on position.
10     A.      The timeout is when you pause right         10   Q.       Okay. Whose job is that? Is it the IR
11     before the start of a procedure to ensure that      11   nurse or the proceduralist?
12     you have the correct patient, name, date of         12   A.       The proceduralist.
13     birth, correct laterality --                        13   Q.       Okay. And then number 6, do you see
14     Q.      Correct what?                               14   that?
15     A.      -- consent. Laterality, the side in         15   A.       Yes.
16     which they're going to tap. And we do -- we         16   Q.       Who's responsible for number 6, the IR
17     also talk about the lab values and the              17   nurse or the proceduralist?
18     medications, if they were held, and then consent    18   A.       Let's see, that's -- they kind of hand
19     is then again made sure. That's part of it as       19   off the end -- end of the connection tubing to
20     well, I believe.                                    20   the nurse. And we put it together, and then the
21     Q.      Okay. So it says, Perform radiology         21   nurse would start the suction on the Neptune.
22     timeout in Epic.                                    22   Q.       Okay. And then number 7, do you see
23           Are you as the nurse putting that             23   number 7?
24     information into Epic at the same time you're       24   A.       Yes.
25     doing what you just said you're doing or --         25   Q.       And whose role -- who does number 7,
                                                 Page 39                                                  Page 41
 1     A.      We have bedside -- we have a computer        1   the proceduralist or the IR nurse?
 2     on wheels.                                           2   A.      The nurse.
 3     Q.      Okay.                                        3   Q.      All right. And then on the second
 4     A.      So the chart is open, and we can go          4   page, do you see where it says postprocedure?
 5     through it at the time --                            5   A.      Yes.
 6     Q.      Gotcha.                                      6   Q.      And there are 10 items listed there?
 7     A.      -- as well.                                  7   A.      Yes.
 8     Q.      Okay. And number 3 is                        8   Q.      Item number 1, can you read that to
 9     self-explanatory.                                    9   yourself?
10           Number 4, Assist doctor/physician             10   A.      Yes.
11     assistant with drawing up the lidocaine. Okay.      11   Q.      Is that an IR nurse's job?
12           The next, it says, Ultrasound tech will       12   A.      Yes.
13     assist doctor during the procedure as needed.       13   Q.      Okay. And how about number 2, reading
14           Do you see that?                              14   that to yourself, I guess that's
15     A.      Yes.                                        15   self-explanatory. You would do that if the
16     Q.      Okay. Is an ultrasound tech always in       16   proceduralist had not done that, correct?
17     the procedure room based upon your experience?      17   A.      Correct.
18     A.      Not at Muhlenberg.                          18   Q.      Number 3 is self-explanatory.
19     Q.      Have you participated in thoracentesis      19          Number 4, that's pretty
20     procedures where an ultrasound tech has been        20   self-explanatory. I don't have any questions
21     present?                                            21   there.
22     A.      Not that I can recall.                      22          Number 5?
23     Q.      All right. Number 5, Before hooking         23   A.      Yes.
24     the tubing to the patient end of the sterile 5-1    24   Q.      What's the -- what's that stating
25     connector (Christmas tree tube                      25   there? So if outpatient, the patient is to be

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                                                Page 42                                                Page 44
 1     observed by the ultrasound nurse?                   1   Q.      And that's the IR's responsibility?
 2            Let me back up and ask a question. As        2   A.      Yes.
 3     the IR nurse, if it's an outpatient procedure,      3   Q.      Now, this document that we just went
 4     are you responsible for observing the patient?      4   over, based upon your experience, does that
 5     A.      Yes.                                        5   fairly and accurately summarize the procedure
 6     Q.      Okay. Number 6, excuse me, that's           6   that's done at Lehigh Valley-Muhlenberg?
 7     self-explanatory.                                   7   A.      Yes.
 8            Number 7, Prepare lab specimens for          8   Q.      Is there anything on there that's
 9     transport-if labs ordered.                          9   missing that you -- that you would characterize
10            Do you see that?                            10   as significant based on your experience?
11     A.      Yes.                                       11   A.      No.
12     Q.      What role does the IR nurse play in        12          MR. WILHELM: All right. Why don't we
13     that?                                              13   take a five-minute break? I think we're halfway
14     A.      We identify the specimens. We prepare      14   through, and we'll take five minutes at this
15     them to be sent to the lab, so we place those      15   point.
16     lab specimen stickers on the tubes, and we have    16          (Short recess was taken.)
17     to initial them, date them, and time them. And     17   BY MR. WILHELM:
18     if they need that cytology, the cytology form      18   Q.      Ms. Unser, do you know Amanda
19     would be printed and placed with it, and then we   19   Lieberman?
20     would send it through our TransLogic tube to the   20   A.      Yes.
21     lab.                                               21   Q.      And how do you know her?
22     Q.      What's a TransLogic tube?                  22   A.      She is a physician assistant.
23     A.      Oh, like a pneumatic tube.                 23   Q.      Where?
24     Q.      Okay. Number 8, do you see the number      24   A.      That I work with.
25     8?                                                 25   Q.      Okay.
                                                Page 43                                                Page 45
 1     A.     Yes.                                         1   A.     Lehigh Valley Hospital.
 2     Q.     What's that?                                 2   Q.     And how long have you known her?
 3     A.     That is basically telling -- we have         3   A.     About eight years.
 4     biohazard bags that the specimens go in and with    4   Q.     Okay. And approximately how frequently
 5     the accompanied lab slips. And those are the        5   do you work with her?
 6     tube numbers. Those are Cedar Crest numbers.        6   A.     Once a week.
 7     That's the -- it has, like, a keypad where you      7   Q.     Okay. For a full day?
 8     type in where the sample goes to.                   8   A.     Yes.
 9     Q.     Okay.                                        9   Q.     Do you have any contact with her or
10     A.     So the lab must be number 7 and number      10   socialize with her outside of work?
11     31.                                                11   A.     No.
12     Q.     Okay. Number 9, do you see number 9?        12   Q.     Okay. Have you -- since you work with
13     A.     Yes.                                        13   her, have you had the opportunity to observe her
14     Q.     Put 1 patient sticker on invasive --        14   perform various procedures, medical procedures?
15     what is that? Quality assurance sheet?             15   A.     Yes.
16     A.     Yeah.                                       16   Q.     Okay. And have you assisted on some of
17     Q.     And have outpatient take tech aide scan     17   those procedures?
18     consent form into Epic.                            18   A.     Yes.
19           What's number 9 telling the IR nurse to      19   Q.     Have you ever been asked by anybody at
20     do?                                                20   Lehigh Valley to critique or evaluate her work?
21     A.     Number 9 does not apply to Muhlenberg.      21   A.     No.
22     Q.     Okay. And then number 10, Clean up the      22   Q.     Have you heard people talk about her
23     Neptune.                                           23   professional reputation and experience and
24           Do you see that?                             24   knowledge, et cetera -- strike et cetera.
25     A.     Yes.                                        25   That's bad.

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                                                  Page 50                                                    Page 52
 1    transcript?                                            1   Q.      Okay. Have you looked at any records
 2    A.     No.                                             2   from the hospital regarding Diane Raymond before
 3    Q.     Other than your attorney, has anyone            3   today?
 4    told you what his deposition testimony was?            4   A.      No.
 5    A.     No.                                             5         (Unser Exhibit 2 was marked for
 6    Q.     When's the last time that you saw him           6   identification.)
 7    and spoke with him?                                    7   BY MR. WILHELM:
 8    A.     Two weeks ago.                                  8   Q.      So if you take a glance at Exhibit 2.
 9    Q.     Was that at work?                               9   A.      Yes.
10    A.     Yes.                                           10   Q.      Do you know what Exhibit 2 is starting
11    Q.     And do you have any interaction with           11   at the -- toward the bottom of the page where it
12    him outside of work?                                  12   says procedure by Amanda Lieberman?
13    A.     No.                                            13   A.      Yes.
14    Q.     Okay. So Diane Helen Raymond is the            14   Q.      Have you seen -- and then spilling over
15    decedent in this case, the estate of Diane Helen      15   to the next page?
16    Raymond. Do you know who she is?                      16   A.      Okay.
17    A.     No.                                            17   Q.      Have you seen that document previously?
18    Q.     Okay. Do you know who Jack Raymond is?         18   A.      No.
19    A.     No.                                            19         MS. WEED: Scott, I need to clarify.
20    Q.     Do you know if Diane Raymond was a             20   This was attorney-client, but she has seen her
21    patient at Lehigh Valley-Muhlenberg at all?           21   records and I believe this report, and that's
22    A.     No.                                            22   it.
23    Q.     You don't know or no, she was not a            23         MR. WILHELM: Okay.
24    patient?                                              24         THE WITNESS: Uh-huh.
25    A.     I guess I'm kind of -- I guess I'm             25         (Unser Exhibits 3 through 8 were marked
                                                  Page 51                                                    Page 53
 1     confused by the question.                             1   for identification.)
 2     Q.      Okay. That's fine. I'm going to --            2   BY MR. WILHELM:
 3     let's do it this way.                                 3   Q.      And then look -- take a quick look at
 4            You -- what do you know -- just                4   Exhibits 3 through 8.
 5     generally tell me what you know about Diane           5   A.      Okay. Yes.
 6     Helen Raymond.                                        6   Q.      Would you agree that your name is
 7            MS. WEED: Object to the form. You can          7   referenced on those exhibits?
 8     answer that. Go ahead.                                8   A.      Yes.
 9            THE WITNESS: I know of her because of          9   Q.      And would you agree that those exhibits
10     the paperwork. I don't remember her per se.          10   appear to be some records related to
11     BY MR. WILHELM:                                      11   Ms. Raymond?
12     Q.      Okay. Right. And you --                      12   A.      Yes.
13     A.      If that's what you meant.                    13   Q.      So this is more for -- this is for
14     Q.      Okay. That's fine.                           14   clarification. I'm not trying to pester you
15            And you -- so I'm going to represent to       15   here.
16     you -- please accept these representations as        16          You do not have -- is it fair to say
17     true -- that Ms. Raymond was a patient at Lehigh     17   you do not have any independent recollection of
18     Valley-Muhlenberg for a thoracentesis procedure      18   providing care to Ms. Raymond on March 8th,
19     on March 8th, 2018. Okay?                            19   2018?
20     A.      Okay.                                        20   A.      Correct.
21     Q.      Now, based upon that and based upon the      21   Q.      Okay. Now, after looking at these
22     fact that you were requested to have your            22   exhibits and speaking with your attorney, do you
23     deposition taken, does that jog your memory at       23   acknowledge that you did participate as the IR
24     all about Diane Helen Raymond?                       24   nurse during Ms. Raymond's March 8, 2018,
25     A.      No.                                          25   thoracentesis?

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                                                 Page 54                                                     Page 56
 1     A.     Yes.                                          1   located?
 2     Q.     Ms. Raymond had a thoracentesis on            2   A.      At the nurse's desk.
 3     February 5, 2018. Did you participate in that        3   Q.      Besides telling you what proceduralist
 4     procedure?                                           4   did the procedure, does it say what other
 5     A.     Yes.                                          5   medical people -- anybody else who was
 6           MS. WEED: February -- listen to the            6   assisting?
 7     question. It's a different date.                     7   A.      What was that last part?
 8           THE WITNESS: Oh, okay.                         8   Q.      Sure. Besides saying who the
 9     BY MR. WILHELM:                                      9   proceduralist is, does the logbook indicate who
10     Q.     Yes. This is not a trick question.           10   else participated in it? Like the IR nurse,
11     I'm going to tell you this. I don't believe you     11   does it identify that person?
12     participated in her February 5, 2018, procedure.    12   A.      Oh, no. In our charting, we put who
13     A.     Sorry.                                       13   was in the room.
14     Q.     That's okay.                                 14   Q.      Okay. Where do you chart who was in
15           Do you believe you did?                       15   the room?
16     A.     No.                                          16   A.      Under the staff. There's a staff tab
17     Q.     Okay. So during this procedure, you          17   in our navigator.
18     said you don't have any independent                 18   Q.      And who is responsible for charting
19     recollection. Do you know who --                    19   that? Is it the IR nurse or is it somebody
20     A.     Correct.                                     20   else?
21     Q.     Do you know who performed the                21   A.      The nurse, the IR nurse.
22     procedure? We're talking March 8th.                 22   Q.      Okay. So have you looked at that
23     A.     Looking at the paperwork, Amanda             23   document before today to see who else was in the
24     Lieberman did.                                      24   room during this procedure?
25     Q.     And looking at the paperwork, you were       25   A.      No.
                                                 Page 55                                                     Page 57
 1     there, right?                                     1      Q.      Has anybody told you before today who
 2     A.      Yes.                                      2      else was in the room?
 3     Q.      Okay. And based on any paperwork that     3      A.      No -- you mean --
 4     you've reviewed before today, do you know who 4                MS. WEED: Other than your attorney.
 5     else, if anybody, was present during the          5            THE WITNESS: No.
 6     procedure?                                        6      BY MR. WILHELM:
 7     A.      I don't remember.                         7      Q.      All right. So you believe your -- I
 8     Q.      Okay. Do you know if Dr. Hoffman was      8      want to make sure I understand this because I'm
 9     present during the procedure?                     9      going to be making a request of your attorney --
10     A.      I don't remember.                        10      that there is a logbook which will identify the
11     Q.      Okay. So if I were to ask you -- if I    11      proceduralist who performed the procedure, and
12     give you a task and you had to do this task and  12      then there is a staff tab which will identify
13     I said go find out who else was in the procedure 13      who else was in the room?
14     room, if anybody, where would you look for that? 14      A.      Yes.
15     A.      I would look in -- in the chart.         15      Q.      Okay. So I will be making that formal
16     Q.      Okay. Is there any -- in Ms. Raymond's 16        request to Ms. Weed.
17     medical chart, right?                            17            MS. WEED: And, Scott, can you send
18     A.      Yes.                                     18      that to me in writing?
19     Q.      Is there some other chart you would      19            MR. WILHELM: I certainly will. This
20     look at?                                         20      is something I've been chasing Good Shepherd for
21     A.      We have a logbook.                       21      for months, and I think Good Shepherd could
22     Q.      Okay.                                    22      answer that question for me too, but they
23     A.      But -- and that would tell me who did    23      haven't.
24     the procedure.                                   24      BY MR. WILHELM:
25     Q.      Okay. And where is that logbook          25      Q.      So I want you to take a moment to

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                   EXHIBIT "G"
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                            LEHIGH VALLEY HOSPITAL
           DEPARTMENT OF ULTRASOUND PROTOCOLS

      SECTION                                PROTOCOL                       PAGE


                                         Ordering Labs
Invasive Ultrasound                  Lab specimen protocol                  1    &2
                       Lab Values/Medication Guidelines For Invasive
                                             Procedures                     3    &4
                         Ankle Injection for Tarsal Tunnel Syndrome              5

                              Compression of Pseudoaneurysm                      6
                      Hip Injection (iliopsoas bursa for medial snapping
                                          hip syndrome)                     7   &8
                                     Liver Biopsy (random)                       9

                                         Liver Biopsy (mass)                    10

                                 Lymph node/ Parotid Bx                         11
                         MSK injection for Pediatric Patients of
                                         Bingham                                12

                                            Paracentesis                   13   & 14
                                          Prostate Biopsy                       15
                                        Renal Biopsy
                                  Native & Renal Tx Biopsy                 16   & 17
                                           Thoracentesis                   18 & 19

                                         Thrombin injection                     20

                                          Thyroid Biopsy                        21

                      Ultrasound guide pain injections with Dr. Patel           22

                          Neptune   - set up and docking protocols              23

                            Canister setup and disposal protocol                24

                      Basic sterile Bx tray setup and clean up protocol         25
                       sterile Bx tray setup and clean up protocol for
                                     any type of neck bx                        25

                             Bx guide bracket cleaning protocol              26

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                                                                                                IT


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  THORACENTESIS: suction regulator SHOULD BE set to: 100 MM MERCURY
 items needed prior to procedure:

          Supplies:          1- sterile tray
                             1- "short" yuehcentesis needle (5f, 7cm)
                             1- Pre -filled 10 mi buffered 1% Lidocaine syringe
                             1- 3 ml ChloraPrep
                             1- Marker-one use only
                             1- Neptune and Manifold    -  * *(4 canister roll stand and 6ft. of bubble tubing only if a
                                                                                                                         Neptune is
                                   unavailable) **
                                               -
                            1- Bubble tubing (Neptune- at least-half a bubble at one end, 1 full
                                                                                                           bubble in the middle
                            and 1/2 of a bubble at the other end) (if Canisters - at least-half a bubble at one
                                                                                                                         end/ 1
                            full bubble in the middle and 1/3 of a bubble at the other end)
                            1- 5 -1 connector (Christmas tree tube adapter)
                            1- Connecting tube
                            2- 60 ml syringe- if labs are requested
                            1- Lab fluid transfer device- if labs are requested
                            1- purple top tube- if labs requested
                            2- red top tubes- (number of tubes depends on labs requested)
                            1- 100 ml sterile specimen cup
                            1- Small red trash bag

           Paperwork:      Consent form/ Pt stickers/ Pt script (script/Order will be in paper form, if from out of network
                   provider and scanned into EPiC) Lab stickers and NON gyn cytology form (from EPIC, if ordered)

           EPIC Chart: normal      PT, PTT, platelets, INR - according to lab value and medication guidelines/
                                                                                                               Pt script
                   (order) post orders will be entered in EPIC by the Radiologist/PA

Patient Prep:          Pt does not need to be NPO; stop blood thinners according to lab value and
                                                                                                  medication guidelines

Procedure performed by:                 PA or Radiologist

Other support staff:              nurse to start an IV (if necessary)

Pre Procedure:
1.   Set up Neptune - ** SEE NEPTUNE SET UP PROTOCOL ON PAGE 23 ** - (If a Neptune is
                                                                                                        unavailable, use the 4
     canister roll stand system- **SEE CANISTER SET UP PROTOCOL on page 24 * *)
2.   Bring the patient into the room
3.   Sit patient up on side of bed with arms resting on tray table (if they are able to do so,
                                                                                               otherwise patient will have to be
     rolled on the appropriate side)
4.   Go through the invasive check list in EPIC begin navigator. Explain the procedure to the
                                                                                                   patient.
5.   Scan patient's posterior chest and mark the lowest rib space with the location of largest area
                                                                                                       of fluid with marker.
6.                                                                            -
     Set up sterile tray, including dropping additional supplies as needed wearing a surgical
                                                                                                   mask
7.   Call the Radiologist and/or PA for procedure

Procedure:
1. Ensure consent is filled out and signed after the Radiologist/PA explains the
                                                                                 procedure to the patient.
2. Perform radiology time out in EPIC
3. All present to perform the procedure must wear a surgical mask
4. Assist Doctor /PA with drawing up lidocaine/ US tech will assist Doctor /PA during
                                                                                      procedure as needed
5. Before hooking the tubing to the patient endof the sterile 5 -1 connector (Christmas tree tube adapter) /connecting tube
   setup (Radiologist/PA should insure stopcock is in a "closed" position when hooking
                                                                                                   up to suction)
6. Once the bubble tubing is connected to the patient, press start suction on the back
                                                                                          touch screen, lower left, of the
   Neptune.
7. Tape the upper portion of the middle bubble in the suction tubing to the
                                                                            tray table (or patient's stretcher side rail, if
   patient is rolled on their side.




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 THORACENTESIS              - continued:
Post procedure:
 1.   When done and catheter is removed from the patient, remove the manifold from the Neptune
                                                                                                           (by turning the manifold
      to the left) and throw the bubble tubing, connecting tube, connector and yuehcentesis catheter
                                                                                                            in the clear trash.
 2.   Clean and dress the patients puncture site, if the Radiologist/PA did not already.
 3.   Assist patient back on to the stretch or onto their back.
 4.   Patient will get a post thoracentesis chest x-ray (inspiration/expiration), if patient
                                                                                               exhibits symptoms concerning for
      a pneumothorax. The Chest x -ray would be ordered by Radiologist/PA. If the
                                                                                          chest X-ray is ordered before 3pm, the
      X-ray will be done portable in US Department. If ordered after 3pm, patient is to be transported to the X-ray
      department for the chest X-ray.
 5.   If outpatient, the patient is to be observed by US nurse. If inpatient, the patient can
                                                                                              be sent back to room following
      X -ray (if X-ray done).
6.    Post -procedure orders will be entered by Radiologist/PA in EPIC
7.    Prepare lab specimens for transport -if labs ordered * *SEE LAB SPECIMEN PROTOCOL
                                                                                                        ON PAGE 2 **
8.    Tube specimens in biohazard bag with slips to rapid response ( #7 or # 31) - if labs
                                                                                              drawn
9.     Put patient sticker on invasive QA sheet and have outpatient tech aide scan consent
           1
                                                                                                  form into EPIC
10.   clean up/docking the Neptune - ** SEE NEPTUNE DOCKING PROTOCOL ON PAGE 23 **
                                                                                                         - (If using the 4
      canister roll stand system- ** SEE CANISTER DISPOSAL PROTOCOL on page 24 * *)




Miscellaneous: *inpatients are transported back to floor for monitoring by floor nurse after Procedure. If chest x-ray
is needed, patient will be transported after chest x-rays are cleared by a Radiologist **
 * *Neptune or wall suction level should be checked prior to
                                                                                   connection for every patient**




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                    EXHIBIT "I"
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                                                 Page 14                                                 Page 16
 1     A.     1981.                                         1   A.      Yes.
 2     Q.     So from the time you graduated San Jose       2   Q.      And you were in the critical care unit,
 3     State in '80 to '81, did you work in California?     3   correct?
 4     A.     Yes.                                          4   A.      Progressive care unit when I started,
 5     Q.     And what did you do?                          5   yes.
 6     A.     I worked in the emergency room.               6   Q.      And how long were you in that unit?
 7     Q.     Okay.                                         7   A.      I don't know. Six months, a year, I --
 8     A.     At Kaiser Permanente.                         8   then I took the critical care course there, and
 9     Q.     Okay. And then you came here to               9   then I went to special care unit there and
10     Pennsylvania, and where did you start working?      10   worked there for a while. I don't know.
11     A.     Lehigh Valley Hospital.                      11   Q.      I'm sorry. Let me try and make this a
12     Q.     Around 1981?                                 12   little bit more clear.
13     A.     Yes.                                         13          You started at Lehigh Valley in 1981.
14     Q.     In what department?                          14   How long did you work at Lehigh Valley?
15     A.     PACU -- not PACU, PCCU, progressive          15   A.      Oh, okay. I worked there until 1989.
16     coronary care.                                      16   Q.      And then where did you go?
17     Q.     What did you have to do to obtain your       17   A.      Then I worked -- I worked -- I taught
18     Pennsylvania nursing license?                       18   nursing for a year at the School of Nursing -- I
19     A.     Apply and then send them all the             19   should have brought my résumé.
20     transcripts and -- I don't know. They go            20          And then I did agency for a year or
21     between California and Pennsylvania. I don't        21   two, and then I worked at Sacred Heart Hospital
22     know what they do.                                  22   for about five years. And then I went back to
23     Q.     When you applied, was your application       23   Lehigh Valley Hospital and worked there until --
24     accepted on the first application?                  24   I worked there for about another five years from
25     A.     Yes.                                         25   '95 to 2000.
                                                 Page 15                                                 Page 17
 1     Q.      Do you have to do continuing medical         1   Q.     Okay.
 2     education?                                           2   A.     And then we moved back to California
 3     A.      Yes.                                         3   for two years. And then I -- when I came back
 4     Q.      How frequently?                              4   from California in 2001 -- well, 2002 I started
 5     A.      Every two years.                             5   working here, and I've been here since 2002.
 6     Q.      How many hours?                              6   Q.     And here being Good Shepherd, correct?
 7     A.      Thirty.                                      7   A.     Good Shepherd, yes.
 8     Q.      And has your continuing medical              8   Q.     When you went back to California around
 9     education always been up-to-date in the last 40      9   2000, 2001, did you work in the nursing field?
10     years?                                              10   A.     Yes.
11     A.      Yes.                                        11   Q.     And, you know, you referenced a résumé.
12     Q.      Do you belong to any professional           12   Would you be kind enough after the deposition to
13     medical associations?                               13   provide your résumé to your attorney?
14     A.      Yes.                                        14   A.     I guess. I have to --
15     Q.      What are they?                              15         MR. WILHELM: I'll make a --
16     A.      American Association of Critical Care       16         MR. PITT: She can -- she can send it
17     Nurses.                                             17   to the people that'll send it to me, so that's
18     Q.      And how long have you been affiliated       18   fine.
19     with that association?                              19         MR. WILHELM: Great. Thank you very
20     A.      1987.                                       20   much.
21     Q.      Okay. Any others?                           21         MR. PITT: Thank you.
22     A.      No. No.                                     22   BY MR. WILHELM:
23     Q.      So taking you back then to 1981 when        23   Q.     So you've been at Good Shepherd from
24     you started at Lehigh Valley, was that a            24   2002 to the present, correct?
25     full-time job?                                      25   A.     Yes.

                                                                                            5 (Pages 14 - 17)
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                                                 Page 18                                                  Page 20
 1     Q.      And as an RN, and then in what               1   A.       Well, officially I have been a
 2     departments?                                         2   supervisor for about two years. They used to
 3     A.      Well, there's only -- this is the only       3   call it a charge nurse, and I was in that role
 4     department there is. This is it, yeah.               4   also. But now they've changed that title to
 5     Q.      And what is that? Critical care?             5   supervisor and added on some more
 6     A.      We're an LTACH, so there are 32 beds.        6   responsibilities.
 7     That's it.                                           7   Q.       Okay. And approximately how many
 8     Q.      You said an LTACH?                           8   nurses are working there at Good Shepherd?
 9     A.      Long-term acute-care facility, so            9   A.       I don't know. Maybe about 80. I don't
10     that's all there is here.                           10   know total night shift and day shift. I only
11     Q.      Gotcha. And is this on Schoenersville       11   supervise the day shift weekday people and
12     Road?                                               12   the CNAs.
13     A.      Yes.                                        13   Q.       Now, you said you've been a supervisor
14     Q.      And is that in the Lehigh Valley Health     14   for about two years from this date, so around
15     Network building?                                   15   2019 sometime?
16     A.      Yes.                                        16   A.       Yeah. I guess, yeah.
17     Q.      And Good Shepherd occupies two floors,      17   Q.       So in March of 2018, which is a
18     I believe?                                          18   relevant time period in this case, were you a
19     A.      Yes.                                        19   supervisory nurse at all?
20     Q.      The third and fourth floor?                 20   A.       I think I was -- they were technically
21     A.      Yes.                                        21   calling it the charge nurse at that point, but
22     Q.      And that's where you've worked for          22   yes.
23     these past 19 years?                                23   Q.       So you were a charge nurse in March of
24     A.      Yes.                                        24   2018?
25     Q.      And has that 19 years been                  25   A.       Yes. Uh-huh.
                                                 Page 19                                                  Page 21
 1     uninterrupted?                                       1   Q.      Is your -- to your knowledge, is the
 2     A.      Yes.                                         2   name of your employer Good Shepherd Specialty
 3     Q.      And it's been full time, right?              3   Hospital or is it another name?
 4     A.      Yes.                                         4   A.      It's Good Shepherd Rehabilitation
 5     Q.      So tell me what you do on -- what your       5   Hospital. I guess that's technically the
 6     typical job responsibilities are, if typical's a     6   employer.
 7     good word for it.                                    7   Q.      On your pay stub, what is the name on
 8     A.      Well, I'm the supervisor, so usually         8   the pay stub?
 9     get report in the morning, check to make sure        9   A.      Good Shepherd Rehabilitation Hospital.
10     everybody is getting through their assignments.     10   Q.      Okay. Thank you.
11     If anybody seems to need any assistance, then I     11         Do you have a supervisor?
12     jump in and help them with that.                    12   A.      I have the administrator.
13           I take patients on transports to other        13   Q.      The nursing administrator?
14     departments out of our unit. They go on             14   A.      Yes.
15     transports to Lehigh Valley, I take the patients    15   Q.      And who is that person?
16     on their transports because they're going to        16   A.      It would be Jessica Florkowski.
17     another facility. And then I cover for lunches.     17   Q.      Can you spell that for the court
18           Let's see, what else do? I get report         18   reporter?
19     from the nurses. I just make sure the daily         19   A.      Let me get my phone so I can look.
20     operations are running smoothly.                    20         MR. PITT: She's got to look up how to
21     Q.      Okay. You said you're a supervisor.         21   spell it.
22     Supervisor of what, the nursing staff?              22         THE WITNESS: You know, to be accurate.
23     A.      Yes.                                        23         MR. PITT: Right. We respect that.
24     Q.      And how long have you been the              24   That's good.
25     supervisor?                                         25         THE WITNESS: F-L-O-R-K-O-W-S-K-I.

                                                                                             6 (Pages 18 - 21)
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                                               Page 22                                                Page 24
 1     BY MR. WILHELM:                                    1   A.     Yeah.
 2     Q.      Thank you.                                 2   Q.     Have you ever seen her outside of work?
 3            And how long has she been the               3   A.     No.
 4     administrator?                                     4   Q.     How frequently do you see her at work?
 5     A.      About two years.                           5   A.     Infrequently, yeah.
 6     Q.      Do you know who the administrator was      6   Q.     Can you describe infrequently?
 7     in 2018, around March of 2018?                     7   A.     Couple times a year.
 8     A.      Andrew Martin.                             8   Q.     What floor is the interventional
 9     Q.      Is Andrew Martin still employed by Good    9   radiology department?
10     Shepherd?                                         10   A.     Second floor.
11     A.      No.                                       11   Q.     Has that been the case at least since
12            MR. WILHELM: Terry, did you get the        12   March of 2018?
13     exhibits?                                         13   A.     Yes.
14            MR. PITT: No, I didn't get any. My --      14   Q.     Is that where you have seen
15     apparently my e-mail system at work is screwed    15   Ms. Lieberman, on the second floor?
16     up.                                               16   A.     Yes. Yes.
17            MR. WILHELM: Okay. So you don't --         17   Q.     Have you seen her on the third or
18            MR. PITT: If you sent them today, I        18   fourth floors?
19     didn't get them. Once they come -- the one or     19   A.     No.
20     two that have come in today say it was sent at    20   Q.     Have you ever worked with her on a
21     4:00 today, so something's screwed up at my       21   patient specifically?
22     office e-mail. And I know they're working on      22   A.     Just for a procedure.
23     it, but I haven't gotten them.                    23   Q.     So you have. Can you give an estimate
24            Could you send them to another e-mail,     24   as to how many times you've worked with her?
25     Scott?                                            25   A.     You know, I'm going to say maybe 10.
                                               Page 23                                                Page 25
 1           MR. WILHELM: Yes.                            1   10 times.
 2           MR. PITT: Tmpitt48@gmail.com.                2   Q.      From the time that she started to the
 3           (Discussion held off the record.)            3   present, is that --
 4     BY MR. WILHELM:                                    4   A.      Yes. Yes.
 5     Q.     Ms. Kentner, do you know who Amanda         5         MR. PITT: Scott, I received them.
 6     Lieberman is?                                      6         MR. WILHELM: Okay. So just quickly,
 7     A.     Yes.                                        7   we're going to go back to Exhibit 1, if you
 8     Q.     And how do you know her?                    8   could just show her Exhibit 1.
 9     A.     She works at Lehigh Valley Hospital.        9         MR. PITT: Sure. She has it on my
10     Q.     In what role?                              10   phone in front of her.
11     A.     She's a PA in the interventional           11         (Exhibit 1 was marked for
12     radiology department.                             12   identification.)
13     Q.     Is that how you know her?                  13   BY MR. WILHELM:
14     A.     Yes.                                       14   Q.      On Exhibit 1 on the second page, it
15     Q.     How long have you known her?               15   appears to be your name on a signature sheet.
16     A.     I don't know. She's worked there a         16   Is that your name?
17     couple years.                                     17   A.      Yes.
18     Q.     A couple. What do you mean by a            18   Q.      And that's your role, correct, RN?
19     couple?                                           19   A.      Yes.
20     A.     Two or three years.                        20   Q.      And are those your initials and your
21     Q.     Did you know her before she started        21   signature?
22     working there?                                    22   A.      Yes.
23     A.     No.                                        23   Q.      Thank you.
24     Q.     If I asked you to describe her, would      24         When you say you worked on procedures
25     you be able to describe her?                      25   with Ms. Lieberman, what role do you play?

                                                                                          7 (Pages 22 - 25)
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                                            Page 58                                                 Page 60
 1    and 7 a.m. And she told me that -- she           1    that morning. Is that correct?
 2    asked me to give verbal approval over the        2   A. Yeah.
 3    phone for another thoracentesis.                 3   Q. And was anyone else with you that day
 4   Q. And were you told why the thoracentesis        4    from the family?
 5    was needed?                                      5   A. I know Ginny came, but I believe she --
 6   A. No.                                            6    she came after my wife came back.
 7   Q. Earlier you had testified that the             7   Q. Okay. Now, when you went with your wife
 8    previous thoracentesis your wife had had was     8    for the thoracentesis procedure itself, were
 9    because there was fluid near her lung. Is        9    you just sitting in a waiting room while she
10    that correct? Did I understand that             10    got the procedure?
11    correctly?                                      11   A. I remember sitting on the bench outside
12   A. Where did you say it was?                     12    of her room. I don't remember where it was.
13   Q. That she had fluid, well in the pleural       13   Q. Did you see the procedure at all?
14    area.                                           14   A. No.
15   A. I was -- I did not -- I did not recall        15   Q. As it was being done?
16    ever hearing that word. They would always       16   A. No.
17    say abdomen or chest.                           17   Q. When you had given your consent for the
18   Q. Okay. Were you told that your wife was        18    procedure, was the consent read to you over
19    having any breathing problems?                  19    the phone?
20   A. This, the day of the -- this phone call,      20   A. No.
21    you mean?                                       21   Q. When you arrived at Good Shepherd, did
22   Q. Yes. The day of the phone call for the        22    you then see this document?
23    consent.                                        23   A. No.
24   A. She didn't go into any details. She           24   Q. Meaning Exhibit 1.
25    just said that we needed a verbal approval      25       How long were you waiting on the bench
                                            Page 59                                                 Page 61
 1    ASAP for another thoracentesis.                  1    during the thoracentesis procedure?
 2   Q. And did you go with your wife to the           2   A. I didn't keep track of the time, to be
 3    thoracentesis procedure?                         3    honest with you. It would be a guess.
 4   A. Not -- yes.                                    4   Q. An educated guess is fine. Do you think
 5   Q. I'm sorry. I was unclear on your               5    it was more than one hour or two hours that
 6    testimony. Was that a yes, you went with         6    you were there? Four hours? Could you give
 7    her to the procedure itself?                     7    me any type of --
 8   A. Yes.                                           8   A. I would guess maybe an hour. Plus.
 9   Q. Yes? And what time was that that you           9   Q. After the procedure, did you notice any
10    went with her to the procedure?                 10    change in your wife's condition? And by
11   A. I'm going to guess -- I'd say roughly         11    after I mean immediately after. When she
12    between 9 and 10.                               12    came out of the procedure, before you went
13   Q. And where was the procedure? If you can       13    back to Good Shepherd.
14    recall?                                         14   A. We really didn't communicate until she
15   A. I have no idea. I don't know.                 15    got back into her room.
16   Q. Okay. Did you go to Good Shepherd prior       16   Q. And your wife, as we've established, was
17    to the procedure and then go from Good          17    still on a ventilator and she had a trach at
18    Shepherd to the interventional radiology        18    this point. Correct?
19    area?                                           19   A. Yes.
20   A. Yes.                                          20   Q. Okay. So she was not able to verbally
21   Q. Is that a yes?                                21    communicate with you.
22   A. Yes.                                          22   A. Correct.
23   Q. So if I'm understanding the sequence          23   Q. When you got back to the room -- I mean
24    correctly, you gave verbal consent on the       24    referring to the room at Good Shepherd. Is
25    phone and then you came to Good Shepherd        25    that correct?
                                                                                      16 (Pages 58 - 61)
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                                             Page 114                                             Page 116
 1    visit your wife while she was in Good              1   Q.   Okay. All right.
 2    Shepherd, that you know of?                        2       Sir, those are all the questions I have.
 3   A. I don't believe so, no.                          3    And I appreciate your time, and I'm sorry
 4   Q. Okay. Now, you've talked about a Nurse           4    for your loss.
 5    Lindsay. Was Nurse Lindsay at Good                 5   A. Thank you.
 6    Shepherd?                                          6              * * *
 7   A. Yes.                                             7               EXAMINATION
 8   Q. Do you remember any conversations you            8   BY MS. WEED:
 9    had with her that you haven't already told         9   Q. Mr. Raymond, I just have a couple of
10    us about?                                         10    follow-up questions.
11   A. Not that I can recall. I know she was           11       Mr. Raymond, do you have any criticism
12    very concerned that day. And she reacted          12    of Dr. Martini's care of your wife?
13    accordingly.                                      13   A. No, I don't.
14   Q. Did you like nurse Lindsay?                     14   Q. And earlier, Ms. Shannon had asked you
15   A. Yes.                                            15    about whether you had --
16   Q. Are there any other nurses that you             16            MS. WEED: Well, let me strike
17    spoke with at Good Shepherd that you              17    that.
18    remember their names as you sit here today?       18   Q. Earlier Ms. Shannon had asked you as far
19   A. All of the nurses were excellent. I             19    as where you went location-wise when you
20    don't remember their names. The only one          20    went to -- when your wife got the
21    that I -- that really sticks in my mind is        21    thoracentesis. And you had testified that
22    Lindsay because she was there the last day.       22    you did not go outside.
23   Q. Understood, understood.                         23       Do you recall that testimony?
24       Now, after your wife's death, did you          24   A. Say that one again, please?
25    ever have any conversations with anyone           25   Q. Earlier, when you were asked by
                                             Page 115                                             Page 117
 1    associated with Good Shepherd?                     1    Ms. Shannon as to a location of where the
 2   A. No.                                              2    thoracentesis procedure took place, that you
 3   Q. That you remember.                               3    did not go outside to get to that room.
 4   A. No.                                              4       Do you recall that testimony?
 5   Q. Is that a no?                                    5   A. Yes.
 6   A. No.                                              6   Q. Okay. Was it in the same building as
 7   Q. Okay. Sorry. I interrupted you. I                7    Good Shepherd?
 8    apologize for that.                                8   A. I know it was connected by a long
 9       Now, just so I'm clear, on the                  9    corridor. But -- they're connected, yes.
10    March 8th, I guess, when your wife came back      10    But the same building, no.
11    from Lehigh Valley Hospital to Good Shepherd      11   Q. Okay.
12    and then back to Lehigh Valley Hospital, did      12   A. They're two separate buildings connected
13    Dr. Martini, was he associated with which         13    by a walkway.
14    institution? Good Shepherd or Lehigh              14   Q. Okay. That's -- that's very helpful as
15    Valley?                                           15    far as your description.
16   A. Lehigh Valley.                                  16       With respect to the ICU at Lehigh Valley
17   Q. If you know.                                    17    Hospital Muhlenberg, did you have to go to a
18   A. Lehigh Valley.                                  18    separate building when your wife was
19   Q. Okay. Thank you.                                19    admitted to the ICU?
20       Are there any other doctors, whether           20   A. I went into a separate entrance, yes.
21    they were associated with Good Shepherd or        21   Q. Did you go outside to get into the ICU?
22    Lehigh Valley, that you spoke with on the         22   A. No.
23    day your wife died that you haven't told us       23   Q. So these buildings are all connected by
24    about today?                                      24    corridors, is the way you are describing it.
25   A. Not -- no.                                      25    Am I understanding that correctly?
                                                                                    30 (Pages 114 - 117)
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                                          Page 118                                                             Page 120
 1   A. Well when she was in ICU, I went in one       1
                                                      2            CERTIFICATE
 2    exterior entrance. And when she was in Good     3
 3    Shepherd, I went in another one.                4       I do hereby certify that I am a Notary Public
 4   Q. So they are separate. They are separate           in good standing, that the aforesaid testimony was
                                                      5   taken before me, pursuant to notice, at the time
 5    buildings. Is that correct?                         and place indicated; that said deponent was by me
 6   A. Yes.                                          6   duly sworn to tell the truth, the whole truth, and
 7   Q. Okay. Thank you.                                  nothing but the truth; that the testimony of said
                                                      7   deponent was correctly recorded in machine
 8            MS. WEED: Those are all the                 shorthand by me and thereafter transcribed under
 9    questions I had.                                8   my supervision with computer-aided transcription;
10            THE COURT REPORTER: Mr. Wilhelm,            that the deposition is a true and correct record
                                                      9   of the testimony given by the witness; and that I
11    do you have questions?
                                                          am neither of counsel nor kin to any party in said
12            MR. WILHELM: I do not, but maybe       10   action, nor interested in the outcome thereof.
13    Ms. Shannon does.                              11       WITNESS my hand and official seal this 23rd
                                                          day of December, 2020.
14            MS. SHANNON: Did I miss
                                                     12
15    anything, Scott?                               13   <%14017,Signature%>
16            MR. WILHELM: We can talk about         14   ------------------------
17    that another time.                             15   Sabrina D'Agostino, RPR, CSR
                                                          Notary Public
18            MS. SHANNON: I do not have any         16
19    other questions.                               17
20            MR. WILHELM: Okay. Thank you.          18
                                                     19
21            Jack, we're done. Just sit tight       20
22    for a few moments while we clean up, we do     21
23    some housecleaning over here.                  22
                                                     23
24            THE WITNESS: Okay. Thank you           24
25    very much.                                     25

                                          Page 119                                                             Page 121
 1            MR. WILHELM: Thanks again.              1              INSTRUCTIONS TO WITNESS
 2            THE VIDEOGRAPHER: The time is           2        Please read your deposition over carefully
 3     1:44 p.m. We are now off the record.           3    and make any necessary corrections. You should
 4               ---                                  4    state the reason in the appropriate space on the
 5       (Witness excused.)                           5    errata sheet for any corrections that are made.
 6               ---                                  6        After doing so, please sign the errata sheet
 7       (Deposition concluded at 1:44 p.m.)          7    and date it.
 8                                                    8        You are signing same subject to the changes
 9                                                    9    you have noted on the errata sheet, which will be
10                                                   10    attached to your deposition.
11                                                   11           It is imperative that you return the
12                                                   12    original errata sheet to the deposing attorney
13                                                   13    within thirty (30 days) of receipt of the
14                                                   14    deposition transcript by you. If you fail to do
15                                                   15    so, the deposition transcript may be deemed to be
16                                                   16    accurate and may be used in court.
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